     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 1 of 72 Page ID #:2540



 1   H. Dean Steward, SBN 85317
     107 Avenida Miramar, Ste. C
 2   San Clemente, CA 92672
     Tel (949) 481-4900
 3   Fax (949) 497-6753
 4   Attorney for Defendant
     MICHAEL JOHN AVENATTI
 5
 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10               Plaintiff,                        DEFENDANT’S STATUS REPORT
11                      v.                         Hearing Date:     June 1, 2020
                                                   Hearing Time:     9:00 a.m.
12   MICHAEL JOHN AVENATTI,                        Location:         Telephonic - Courtroom
                                                                     of the Hon. James V.
13               Defendant.                                          Selna
14
15
           In advance of the status conference set in this matter for June 1, 2020, defendant
16
     MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his counsel of record,
17
     H. Dean Steward, hereby files this Status Report in order to bring to the Court’s attention
18
     a number of issues impacting the trial and scheduling in this matter.
19
20
     Dated: May 27, 2020                      Respectfully submitted,
21
22                                            /s/ H. Dean Steward
23                                            H. DEAN STEWARD
24                                            Attorney for Defendant
                                              MICHAEL JOHN AVENATTI
25
26
27
28
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 2 of 72 Page ID #:2541




                                       TABLE OF CONTENTS


TABLE OF AUTHORITIES .................................................................................. iii

    I.      MR. AVENATTI’S CUSTODY STATUS AND
            TRIAL PREPARATION ........................................................................... 1

            A. April 24, 2020 to the Present ................................................................ 1

            B. January 14 to April 23, 2020 ................................................................ 6

    II.     THE GOVERNMENT’S DISCOVERY PRODUCTIONS .................... 13

    III.    THE GOVERNMENT’S CONTINUED USE OF A GRAND JURY
            AND THE POSSIBILITY OF A SUPERCEDING INDICTMENT....... 14

    IV.     THE TRIAL DATE AND ASSOCIATED SCHEDULE ........................ 15

           A. Trial during a deadly, highly contagious pandemic would impair
              the defendant’s right to effective assistance of counsel ....................... 17

           B. Trial during a deadly pandemic would deprive the defendant of trial
              before a fair cross-section of the community ....................................... 22

           C. Trial during a deadly pandemic would compromise the defendant’s
              right to meaningful confrontation ........................................................ 25

           D. Trial during a deadly pandemic would compromise the defendant’s
              right to compulsory process, to present evidence, and to testify ......... 27

           E. Trial during a deadly pandemic would compromise the defendant’s
              right to be present and to be judged without the effect of a prejudicial
              face covering ........................................................................................ 28

           F. Trial during a deadly pandemic would compromise the defendant’s
              right to be tried by an impartial jury and be free of coercive verdicts . 30
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 3 of 72 Page ID #:2542




           G. Trial during a deadly pandemic would compromise the defendant’s
              right to be free of coercive pressure to plead guilty ............................. 31

           H. Trial during a deadly pandemic would violate the defendant’s due
              process right to the exercise of reasonable care toward the health and
              safety of persons confined by state action ........................................... 32

CERTIFICATE OF SERVICE................................................................................ 34




                                                   ii
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 4 of 72 Page ID #:2543




                                     TABLE OF AUTHORITIES

CASES:                                                                                                        Page

Brady v. United States,
397 U.S. 742 (1970) ..................................................................................... 30, 31

Burdine v. Johnson,
262 F.3d 336 (5th Cir. 2001) ............................................................................... 17

California v. Green,
399 U.S. 149 (1970) ............................................................................................ 25

Chambers v. Florida,
309 U.S. 227 (1940) ............................................................................................ 31

Chambers v. Mississippi,
410 U.S. 284 (1973) ............................................................................................ 26

Coy v. Iowa,
487 U.S. 1012 (1988) .......................................................................................... 25

Deck v. Missouri,
544 U.S. 622 (2005) ............................................................................................ 28

DeShaney v. Winnebago County Dep’t of Social Services,
489 U.S. 195 (1989) ............................................................................................ 32

Duren v. Missouri,
439 U.S. 357 (1976) ............................................................................................ 23

Estelle v. Williams,
425 U.S. 501 (1976) ............................................................................................ 28

Freeman v. Ferguson,
911 F.2d 52 (8th Cir.1990) .................................................................................. 32

Geders v. United States,
425 U.S. 80 (1976) .............................................................................................. 19




                                                          iii
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 5 of 72 Page ID #:2544




Gregory v. City of Rogers, Ark,
974 F.2d 1006 (8th Cir. 1992) ............................................................................. 32

Jones v. Phyfer,
761 F.2d 642 (11th Cir. 1985) ............................................................................. 32

Jordan v. Massachusetts,
225 U.S. 167 (1912) ............................................................................................ 30

Kercheval v. United States,
274 U.S. 220, 223 (1927) .................................................................................... 31

Kirby v. Illinois,
406 U.S. 682 (1972) ............................................................................................ 17

Machibroda v. United States,
368 U.S. 487 (1962) ............................................................................................ 31

Maryland v. Craig,
497 U.S. 836 (1990) ............................................................................................ 25

Mattox v. United States
156 U.S. 237 (1896) ............................................................................................ 25

Montejo v. Louisiana,
556 U.S. 778 (2009). ........................................................................................... 17

Morris v. Slappy,
461 U.S. 1 (1983) ................................................................................................ 22

Perry v. Leeke,
488 U.S. 272 (1989) ............................................................................................ 17

Powell v. Alabama,
287 U.S. 45 (1932) .............................................................................................. 18

Rock v. Arkansas,
483 U.S. 44 (1987) .............................................................................................. 27




                                                          iv
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 6 of 72 Page ID #:2545




Smith v. Robbins,
528 U.S. 259 (2000) ............................................................................................ 17

State v. Long,
499 A.2d 264 (N.J. 1985) .................................................................................... 25

Tanner v. United States,
483 U.S. 107 (1987) ............................................................................................ 30

Taylor v. Illinois,
484 U.S. 400 (1987). ..................................................................................... 26, 27

United States v. Cronic,
466 U.S. 648 (1984) ............................................................................................ 17

United States v. DeJesus-Castaneda,
705 F.3d 1117 (9th Cir. 2013) ....................................................................... 25, 26

United States v. El-Mezain,
664 F.3d 467 (5th Cir. 2011) ............................................................................... 26

United States v. Hemmingson,
157 F.3d 347 (5th Cir. 1998) ............................................................................... 22

United States v. Kennedy,
548 F.2d 608 (5th Cir.1977). ............................................................................... 22

United States v. Kimmel,
777 F.2d 290 (5th Cir. 1985) ............................................................................... 30

United States v. Snarr,
704 F.3d 368 (5th Cir. 2013). .............................................................................. 24

Waley v. Johnston,
316 U.S. 101 (1942) ............................................................................................ 31

Walker v. Johnston,
312 U.S. 275 (1941) ............................................................................................ 31




                                                          v
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 7 of 72 Page ID #:2546




Washington v. Texas,
88 U.S. 14 (1967). ............................................................................................... 27

Weatherford v. Bursey,
429 U.S. 545 (1977) ............................................................................................ 19

Wells v. Walker,
852 F.2d 368 (8th Cir.1988) ................................................................................ 32



OTHER AUTHORITIES:

U.S. Const. Amend. VI ................................................................................ passim




                                                          vi
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 8 of 72 Page ID #:2547



 1   I.     MR. AVENATTI’S CUSTODY STATUS AND TRIAL PREPARATION
 2          A.        April 24, 2020 to the Present
 3          On April 24, 2020, pursuant to this Court’s Order, Mr. Avenatti was released from
 4
     the New York Metropolitan Correctional Center (“MCC”) and placed in home
 5
 6   confinement in Venice, California with significant restrictions and conditions. To date,

 7   Mr. Avenatti has met each condition and there have been no issues or violations relating
 8
     to his bail. Indeed, in connection with the recent Pre-Sentence Report (“PSR”)
 9
10   completed for Mr. Avenatti in the SDNY Nike matter, Ms. Shakira Davis, the Pre-Trial

11   Specialist assigned to monitor Mr. Avenatti during his home confinement reported that
12
     Mr. Avenatti has been in full compliance with his release conditions since his release on
13
14   April 24, 2020. Further, the PSR noted that Mr. Avenatti is “viewed as a fair candidate
15   for voluntary surrender” should be ordered incarcerated in that matter.”1 2
16
             Since Mr. Avenatti’s release from MCC on April 24, 2020, the defense’s ability
17
18   to prepare for trial, including motion practice and reciprocal discovery obligations, has
19   been severely impacted by, among other factors, the following:
20          1
                 Mr. Avenatti has filed a post-trial motion seeking acquittal and a new trial in the Nike case
21
     (Case No. 1:19-CR-00373-PGG), which is fully briefed but awaiting a ruling by the Hon. Paul G.
22   Gardephe. On May 19, 2020, Judge Gardephe continued the sentencing hearing date in the Nike matter
23   to August 19, 2020.
24          2
                On May 15, 2020, the Hon. Jesse M. Furman continued the trial date in the Stormy Daniels
25   related SDNY criminal case (Case No. 1:19-CR-00374-JMF) to October 13, 2020, although it is widely
26   anticipated that the trial will again be continued due to COVID-19. In addition, Mr. Avenatti intends to
     renew his request that the case be transferred to this district, especially in light of the need to conserve
27
     judicial and juror resources as a result of the coronavirus.
28
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 9 of 72 Page ID #:2548



 1         (1)    As part of his bail conditions, the government insisted on severely limiting
 2
     Mr. Avenatti’s ability to use a computer. This poses a significant problem as the vast
 3
 4   amount of discovery produced by the government in this case has been produced on hard

 5   drives or via other electronic means. Moreover, there is simply no way to access and
 6
     review certain of the discovery produced (i.e. data and other computer files) by any
 7
 8   means other than a computer. Seeing as Mr. Avenatti has unparalleled knowledge as to a

 9   significant amount of the discovery, it is critical that he have the ability to review the
10
     discovery in order to prepare for trial.
11
12         (2)    As a result of undersigned counsel’s age (68), his risk for contracting
13   COVID-19 (he has diabetes), and the required stay-at-home orders, counsel has been
14
     unable to spend any significant time with Mr. Avenatti reviewing the discovery in-
15
16   person and preparing for trial. Even though Mr. Avenatti and counsel are in regular
17   communication by phone, this does not serve as a meaningful substitution for in-person
18
     meetings and review of the extensive discovery in this case (which the government
19
20   continues to produce with no end in sight). Counsel and Mr. Avenatti are further
21   restricted from communicating by Zoom or video conference due to Mr. Avenatti’s
22
     conditions of home confinement.
23
24         (3)    Because of COVID-19 and Mr. Avenatti’s home confinement conditions,
25
     neither defense counsel nor Mr. Avenatti have been permitted to appear in-person at the
26
     offices of the IRS in order to further review Mr. Avenatti’s e-mails, electronic
27
28

                                                    2
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 10 of 72 Page ID #:2549



 1    documents and those of his law firm.3 These emails and electronic documents are
 2
      critical to Mr. Avenatti’s defense because, for instance, email often served as the primary
 3
 4    communication method between Mr. Avenatti and the alleged victims in this case, as

 5    well as between Mr. Avenatti and others whom he employed/dealt with, who are at the
 6
      center of the allegations in the indictment. While the government has provided copies of
 7
 8    some email and documents to the defense, the government has not produced copies of all

 9    of the email and documents bearing on the allegations in the indictment and Mr.
10
      Avenatti’s defenses.
11
12           The Court will recall that Mr. Avenatti previously filed a motion to compel the
13    government to provide a copy of the entirety of the servers of Mr. Avenatti’s law firm
14
      without regard to case or topic, which was successfully opposed by the government.
15
16    Alternatively, the government established a terminal/database in the offices of the IRS in
17    Los Angeles in order to permit Mr. Avenatti and his counsel the opportunity to review
18
      the email and documents as needed. Mr. Avenatti and his counsel availed themselves of
19
20    this opportunity before COVID-19 and began the process of sifting and searching for the
21    relevant documents and information, although this process was less than 20% complete
22
      at the time of Mr. Avenatti’s January 14, 2020 arrest.
23
24           (4)      The records of Mr. Avenatti’s law firm Eagan Avenatti, LLP, including
25
      critical records detailing costs and expenses on cases involving the alleged victims, as
26
             3
                 There are well over 2,000,000 emails in the database, which likely comprise over 6,000,000
27
      pages of material.
28

                                                          3
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 11 of 72 Page ID #:2550



 1    well as hours spent on the matters, are not in the possession of Mr. Avenatti. Instead, the
 2
      records are now in the possession of a bankruptcy trustee for the law firm.
 3
 4           (5)       The government continues to produce vast amounts of data and discovery to

 5    the defense, despite the fact that the government has previously and repeatedly
 6
      represented to the Court and counsel that discovery would be complete long ago.4 In
 7
 8    fact, to date, the government has now produced over 1.1 million pages of discovery in

 9    this case, with over 664,000 pages (well over half of the discovery production) having
10
      been produced two weeks ago on May 8.5 This is obviously in addition to the huge
11
12    amounts of electronic data already produced. The government has been in possession of
13    the documents and materials in most instances for 14 months and yet is now inundating
14
      the defense with documents. The prejudice to the defense that results cannot be
15
16    overstated. Further, this prejudice is compounded by the fact that the government
17
18
             4
                 For instance, the government previously represented to the Court and counsel that its privilege
19
      review would be completed last year and all documents produced. And yet all indications are that it
20
      continues.
21
             5
                 On May 8, the government made this production while stating that “almost all” of the
22
      production had been previously produced by the Privilege Review Team to the defense on March 13,
23
      2020. The defense has not been able confirm this as there is no way to easily cross-reference the
24    productions to determine what exactly has been previously produced and what is duplicative. Further,
25    the defense was still in the process of reviewing the March production (which alone consists of nearly 1
26    million pages) when the May production of 664,000 pages was made. As the Court can appreciate, it
      can easily take months to review this amount of discovery, not to mention then reviewing and
27
      comparing that discovery to later productions.
28

                                                            4
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 12 of 72 Page ID #:2551



 1    refuses to affirmatively state either (a) that all discovery has now been produced or (b) to
 2
      provide a date certain as to when all discovery will have been produced.6
 3
 4           (6)       As the Court is aware, Mr. Avenatti’s counsel in this matter7 is a solo

 5    practitioner with limited resources and a limited ability to review the over 1,000,000
 6
      pages of discovery that has been dumped on the defense by the government, not to
 7
 8    mention the huge amount of electronic data consisting of millions of additional

 9    pages/images. The sheer magnitude of the discovery the government has produced, and
10
             6
11               The defense respectfully requests that the Court direct the government to promptly (a) provide

12    the Court with a detailed summary of the government’s productions to date, including the date of each
      production and the amount of pages/data associated with each production and b) affirmatively state all
13
      discovery has now been produced or, if not, provide an absolute date certain as to when all discovery
14
      will be produced.
15
             7
                 The government has previously gone to great lengths to repeatedly inform the Court that Mr.
16
      Avenatti was represented at the Nike trial by “SEVEN (7) attorneys.” However, what the government
17    has failed to tell the Court, despite having full knowledge of all of Mr. Avenatti’s finances, bank
18    accounts, and payments to his lawyers during the last three years, including in 2019 and 2020, is that:
19    (a) only TWO (2) of those lawyers were being paid by Mr. Avenatti, with the payments occurring

20    entirely in the Spring of 2019; (b) the “seven” lawyers included a pro bono jury consultant and other
      lawyers in support, who played no role at trial after jury selection; and (c) unlike here, Mr. Avenatti had
21
      the good fortune of having lawyers, firms and consultants volunteer their services in the Nike case due
22
      to (i) the case being venued in New York, (ii) the high-profile nature of the case and the fact that it
23
      involved some of the biggest names in college basketball, and (iii) the belief by many in the legal
24    community that Mr. Avenatti had been singled out for prosecution in the Nike case over what was in
25    reality a hard charging settlement negotiation, no different than what occurs hundreds of times by
26    plaintiffs’ lawyers every day across the country. Accordingly, any claim by the government that Mr.
      Avenatti chose to lavishly fund his defense in the Nike case at the expense of his defense in this matter
27
      is without merit.
28

                                                            5
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 13 of 72 Page ID #:2552



 1    continues to produce, cannot be overstated. Even were Mr. Avenatti able to employ a
 2
      team of lawyers/paralegals to review the discovery in the case, the undertaking would
 3
 4    require months of time.8 The effects of COVID-19 make this process even more

 5    inefficient and time consuming.
 6
             B.       January 14 to April 23, 2020
 7
             At the last status conference held on April 27, the USAO represented to the Court
 8
 9    that Mr. Avenatti had the ability to fully review discovery in this matter and prepare for

10    trial while he was in custody from January through the end of April. As set forth in
11
      detail below, this representation is patently false.
12
13           On the evening of January 14, 2020, despite knowing full well that Mr. Avenatti
14    was scheduled to depart for New York on a commercial flight five hours later in order to
15
      assist with trial preparation and be present for the Nike trial (set for the following
16
17    Tuesday), the government caused Mr. Avenatti to be arrested in downtown Los Angeles.
18    They chose to arrest Mr. Avenatti not at his residence as is customary, or even at the
19
             8
20               Mr. Avenatti is presently attempting to make arrangements for additional counsel to represent
      him in this case with the hope that such counsel can assist in the review of the discovery and
21
      preparation for trial. This process has been significantly hindered by the position previously taken by
22
      the government in connection with Mr. Avenatti’s bail revocation, namely that every dollar he expends
23
      on anything other than paying his estranged wife Lisa Storie or the creditor Jason Frank (who is law
24    partners with, and represented by, Mr. Sagel’s close friend Andrew Stolper), is an effort somehow
25    aimed at hindering their efforts at collection and thus amounts to criminal conduct. As this Court can
26    appreciate, and as the court in the Nike case specifically recognized, this position by the government
      creates a significant impediment to Mr. Avenatti’s ability to retain counsel, fund a defense, pay costs
27
      and experts, and properly prepare for trial.
28

                                                           6
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 14 of 72 Page ID #:2553



 1    airport. Instead, the prosecution purposely chose to have Mr. Avenatti arrested while he
 2
      was attending a high-profile State bar hearing at which the media was present. As
 3
 4    planned, a media circus resulted, with Mr. Avenatti’s arrest and ultimate remand being

 5    widely reported nationwide, together with repeated mentions of Mr. Sagel by name. The
 6
      judge in the Nike matter (the Hon. Paul G. Gardephe) later noted that the timing was
 7
 8    especially curious seeing as the alleged conduct used by the government for the basis for

 9    the arrest and bail revocation was known by the government for months prior (dating
10
      back to July 2018).9
11
12            At the time of his arrest and repeatedly thereafter as he was being transported to
13    Santa Ana jail from downtown Los Angeles, Mr. Avenatti asked the agents who had
14
      arrested him why he was in custody. They refused to tell him.
15
16            Upon being booked in the Santa Ana jail on the night of January 14, Mr. Avenatti
17    was placed in solitary confinement, in a wing of the jail generally reserved for violent
18
      inmates with disciplinary problems.10 He asked to be able to take a shower but that
19
20    request was denied.
21
22            9
                  The timing of Mr. Avenatti’s arrest caused the Nike trial to be delayed and rescheduled, and
23    further caused considerable inconvenience to the Nike court and its staff. It also resulted in an obscene
24    waste of taxpayer money in that Mr. Avenatti, accompanied by three U.S. Marshalls, had to be flown

25    on a chartered private jet (likely at a cost of over $60,000) from Orange County airport to New York on
      the Friday after his arrest.
26
              10
                   As the Court is aware, from 1971 until 2019 (48 years), Mr. Avenatti had never been charged
27
      with any crime, let alone convicted of any crime, and had no history of violence.
28

                                                            7
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 15 of 72 Page ID #:2554



 1           On the morning of January 15, this Court remanded Mr. Avenatti to custody, at
 2
      which time he was placed back in solitary confinement despite repeatedly asking to be
 3
 4    housed in general population. He was again denied a shower.

 5           On January 16, Mr. Avenatti spent the entire day in his cell with no ability to use
 6
      the phone, take a shower, or have any contact with his attorneys.
 7
 8           Early in the morning of Friday, January 17, Mr. Avenatti was removed from his

 9    cell and transported to Orange County airport, where he was flown, together with three
10
      U.S. Marshalls, on a private jet to Teterboro, New Jersey outside of New York. At all
11
12    times, Mr. Avenatti was handcuffed, shackled at the waist and required to wear ankle
13    restraints. He still had not been permitted to shower.
14
             After having been transported to the MCC in Manhattan,11 Mr. Avenatti arrived at
15
16    approximately 6:30 p.m. Despite Mr. Avenatti repeatedly asking (and practically
17    begging) that he not be placed in solitary confinement, he was placed in solitary
18
      confinement in the notorious “10 South,” in a cell previously used to hold international
19
20    fugitive and drug lord Joaquin “El Chapo” Guzman before, during and after his recent
21    trial in Brooklyn, New York.12 Unit 10 South houses 6-7 inmates at a time, nearly all of
22
      whom are considered threats to the national security of the United States (i.e. high-
23
             11
24                The substandard conditions at MCC are widely known throughout the Bureau of Prisons and

25    are considered the worst in the nation.
             12
26                Despite the existence of the Federal Metropolitan Detention Center (“MDC”) in Brooklyn
      where almost all federal pre-trial inmates are held pending trial in Brooklyn, El Chapo was instead held
27
      at MCC due to its extreme security measures.
28

                                                          8
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 16 of 72 Page ID #:2555



 1    profile terrorists or individuals accused of treason against the United States). 13 Indeed,
 2
      the security measures used at 10 South are some of the highest used throughout the
 3
 4    Federal Bureau of Prisons, with the unit considered the “Super Max” of pre-trial

 5    facilities in the United States.14 It has been routinely described as tougher than
 6
      Guantanamo Bay, with conditions that cause severe psychological trauma.
 7
 8           Despite repeated requests by Mr. Avenatti and his counsel that he be moved from

 9    10 South, Mr. Avenatti was held in solitary confinement in 10 South for nearly five (5)
10
      weeks until February 20,15 at which time he was finally placed in general population in
11
12    Unit 5 South. For the first three weeks, a guard was stationed immediately outside the
13    door of his cell 24 hours a day. During the five weeks he was held in 10 South, he was
14
      never permitted to go outside to breath fresh air or see the sky.16 He was rarely
15
16    permitted to view any television, was not allowed to use a radio, and was never
17           13
                  Because of the severe restrictions and violation of constitutional rights that result from being
18    placed in 10 South, incarceration in the unit generally requires a directive from the Office of the
19    Attorney General of the United States and judicial approval of “Special Administrative Measures” or
20    “SAMS.” It is presently unknown how Mr. Avenatti was placed in 10 South without this judicial

21    safeguard and what role, if any, the Attorney General had in placing Mr. Avenatti in 10 South.
             14
22                The Court is urged to read Exhibits A-D as they relate to the specific conditions Mr. Avenatti

23    faced while at MCC, especially because they severely impacted his ability to prepare for trial in this
      case, as well as his mental fitness.
24
             15
25                On February 14, Mr. Avenatti was convicted in the Nike matter. He was not remanded to
      custody as a result of that conviction.
26
             16
                  Mr. Avenatti was ultimately held at MCC for a total of approximately 100 days; he was
27
      allowed to go outside to breath fresh air once.
28

                                                             9
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 17 of 72 Page ID #:2556



 1    permitted to read a newspaper. He was not allowed a single social visit.17 His every
 2
      move (including showers and use of the toilet) was recorded on two cameras located
 3
 4    inside his cell, with Mr. Avenatti being told that if he tried to cover himself when using

 5    the toilet, he would be disciplined. He could not control the lights within his cell, which
 6
      were routinely left on without interruption. And the temperature inside his cell would
 7
 8    reach approximately 45 degrees at night.

 9           Moreover, his attorney visits and access to discovery materials were severely
10
      restricted. Indeed, Mr. Avenatti was not permitted by MCC to have any discovery or
11
12    legal paperwork relating to any other case or matter other than the Nike matter. Further,
13    he was not allowed to have email access; his calls, including attorney calls, were
14
      severely restricted; and he was not permitted to use the law library (where discovery
15
16    materials must be reviewed per MCC policy).
17           On Wednesday, February 26, Mr. Avenatti was first granted access to the law
18
      library at MCC, where inmates are permitted to review discovery. However, MCC
19
20    informed Mr. Avenatti that no discovery from this case or the Stormy Daniels related
21    matter was on file for him to review.
22
             The next day (Thursday, February 27) and a mere seven days after he was moved
23
24    out of 10 South - the entire MCC was placed on locked-down status after it was
25
             17
26                In fact, Mr. Avenatti was never permitted a single social visit during his approximate 100
      days at MCC, even though his family and close friends went to great lengths to attempt to see him,
27
      including travelling to New York only to be turned away at MCC.
28

                                                           10
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 18 of 72 Page ID #:2557



 1    discovered that a correctional officer at the institution had smuggled a loaded firearm
 2
      into the facility and provided it to an inmate. Attorney visits and contact were
 3
 4    immediately stopped that day. All inmates were locked in their cells 24 hours a day so

 5    that a search could begin prison wide for the firearm. “Sort” teams (i.e. SWAT like
 6
      teams) and other correctional officers from maximum security United States
 7
 8    Penitentiaries from across the country were brought to MCC to conduct repeated cell

 9    raids, often in the middle of the night.18 In the thirteen days that followed, Mr. Avenatti
10
      was permitted only two showers – each five minutes in length (one on March 1 and one
11
12    on March 7); he was locked in rat-infested cells 24 hours a day with no clean laundry;19
13    he was cut off entirely from his counsel and family; he had no phone or email access;
14
      and he was not given a single hot meal (he was fed frozen peanut butter and jelly
15
16    sandwiches every night for 13 nights straight).
17
18

19
             18
                  For instance, Mr. Avenatti had his cell searched seven times by officers in full tactical gear,
20
      often at 3:00 or 4:00 a.m., across thirteen days. At one point, Mr. Avenatti, together with other inmates,
21
      were required to stand and sit on the floor with their hands on their heads for three consecutive hours
22    and were told if they removed their hands, there would be “hell to pay” and they would get a “shot” (a
23    disciplinary charge) and taken to the SHU. He was also strip searched repeatedly. Further, the personal
24    property of Mr. Avenatti, including over ½ of his legal documents, were taken and “lost.” During one

25    strip search at approximately 3:30 in the morning on March 4, a correctional officer said to another that
      Avenatti “doesn’t look as tough now as he thought he did when he was going after Trump on TV.”
26
             19
                  Mr. Avenatti was ultimately allowed one change of clothes and sheets across approximately
27
      five weeks.
28

                                                            11
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 19 of 72 Page ID #:2558



 1           On March 10, days after the firearm was recovered, MCC finally came off locked
 2
      down status and Mr. Avenatti was moved to unit 11 South. He was subsequently finally
 3
 4    able to meet with undersigned counsel, who, despite the virus outbreak, flew to New

 5    York from Los Angeles for the purposes of discovery and motion review, and trial
 6
      preparation. However, those efforts were soon again derailed.
 7
 8           Only 12 days later, on March 22, Mr. Avenatti’s unit was again locked down for

 9    what was then described as a “staff shortage.” The next day, March 23, MCC informed
10
      Mr. Avenatti’s unit that it would remain locked down and quarantined as a result of an
11
12    inmate in the unit testing positive for COVID-19. All attorney visits were stopped; all
13    law library/discovery access was immediately suspended; no inmate was permitted to
14
      leave the unit unless they were being released; and inmates were permitted to leave their
15
16    cells only approximately three times per week for a total of 5 hours per week to use the
17    phone or email system. Occasionally, a hot meal (lunch) would be served, but generally
18
      all meals were cold or frozen.20
19
20           On Saturday, April 11, despite the fact that Mr. Avenatti had already been
21    quarantined since March 23 (i.e. for 19 days), MCC moved Mr. Avenatti back to solitary
22
      confinement in 10 South and again placed him under severely restrictive conditions. He
23
24    was not permitted to leave his cell on a single occasion until his release from MCC to
25
26
             20
                  Mr. Avenatti was again fed frozen peanut butter and jelly sandwiches every night for dinner –
27
      this time for 32 consecutive nights.
28

                                                          12
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 20 of 72 Page ID #:2559



 1    home confinement on April 24. Nor was he permitted email access, access to a
 2
      computer, or regular contact with his attorneys or family.
 3
 4          In sum, as detailed above, Mr. Avenatti was in custody approximately 100 days

 5    and was in solitary confinement or under locked-down status for over 80 of those days.
 6
      He was routinely denied access to his discovery, legal papers and counsel through no
 7
 8    fault of his own.21 And he was forced to endure abhorrent, brutal conditions almost

 9    unheard of even for inmates with long, violent criminal histories. Accordingly, any
10
      claim by the government that Mr. Avenatti was easily able to adequately review
11
12    discovery in this matter, meet and communicate with his attorneys, and prepare for trial
13    is frankly absurd.
14
15
      II.   THE GOVERNMENT’S DISCOVERY PRODUCTIONS
16
            As discussed previously (see I. A. (5), infra), the government continues to produce
17
18    vast amounts of discovery in this case while at the same time refusing to either state that
19    all discovery is now complete or provide a date certain by which all discovery will be
20
      complete. Much of this information has been in the possession of the government for
21
22    well over a year. This, coupled with the issues detailed above relating to discovery
23    review, makes it virtually impossible for the defense to adequately prepare motions,
24
      participate in reciprocal discovery, mount a global defense strategy, properly prepare
25
26    witnesses, make decisions as to which witnesses to call and whether Mr. Avenatti will
27
            21
                 Mr. Avenatti did not have a single disciplinary incident while in custody.
28

                                                          13
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 21 of 72 Page ID #:2560



 1    testify, and generally prepare for trial. To date, the government has produced over 1.1
 2
      million pages of discovery, with well over 50% of those pages (over 664,000) only
 3
 4    recently having been produced. This does not take into account the total amount of

 5    information provided to the defense from the Privilege Review Team. And there have
 6
      been untold productions of electronic discovery comprising enormous amount of data.
 7
 8           As can be expected under these circumstances, counsel has yet to review well over

 9    one half of the discovery produced in this case as of the date of this filing. It goes
10
      without saying that Mr. Avenatti should not be required to proceed to trial until his
11
12    counsel is adequately prepared.
13
14    III.   THE GOVERNMENT’S CONTINUED USE OF A GRAND JURY AND
             THE POSSIBILITY OF A SUPERCEDING INDICTMENT
15
             The defense understands that the government continues to subpoena documents
16
17    and witnesses in connection with its investigation of Mr. Avenatti. Indeed, all
18
      indications are that the government over the last 18 months has dug into virtually every
19
20
      aspect of Mr. Avenatti’s life and every financial transaction that he or his law firms

21    participated in dating back some seven years, and that this inquiry continues to this day.
22
      If the government intends on bringing a superseding indictment against Mr. Avenatti, it
23
24
      will obviously have a significant impact on the scope of the trial, discovery, and trial

25    preparation.
26
27
28

                                                   14
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 22 of 72 Page ID #:2561



 1    IV.   THE TRIAL DATE AND ASSOCIATED SCHEDULE
 2          The trial in this matter is presently set to begin on August 17, 2020 and is likely to
 3
      last for approximately six weeks or longer depending on the government’s ability to use
 4
 5    alleged 404(b) evidence. For the reasons set forth above, the defense has serious

 6    concerns about Mr. Avenatti’s right to a fair trial and the defense’s ability to meet the
 7
      current schedule, complete its review of the mountain of discovery in this case, file the
 8
 9    extensive motions necessary for Mr. Avenatti’s defense, meet with Mr. Avenatti to

10    prepare for trial, and adequately represent Mr. Avenatti at trial. These concerns are even
11
      more heightened in light of the coronavirus and its effects on the defense and counsel.
12
13          By the date of the status conference in this matter, there will be over 1,700,000
14    confirmed cases of COVID-19 in the United States, with over 100,000 deaths. Los
15
      Angeles County and Orange County alone account for over 50,000 cases and 2,200
16
17    deaths. On Friday, May 22, 2020, Dr. Deborah Birx, the White House Coronavirus
18    Response Coordinator, identified the Los Angeles Metropolitan Area and Orange
19
      County as one of three geographic areas of concern for COVID-19 spread in the United
20
21    States, with the White House asking the CDC to investigate. As of May 25, 2020, (a)
22    Los Angeles County reported 13,243 new cases in the previous 14 days – almost half of
23
      total new cases reported in all of California during that time period and (b) Orange
24
25    County had seen a 24.3 percent increase in positive COVID-19 hospital patients and a
26
27
28

                                                   15
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 23 of 72 Page ID #:2562



 1    44.4 percent increase in ICU positive COVID-19 patients.22 Meanwhile, cases, deaths
 2
      and hospitalizations are spiking in other states that have moved toward reopening (i.e.
 3
 4    North Carolina, Alabama, and Minnesota). Indeed, many experts, including renowned

 5    expert Dr. Anthony Fauci, are predicting a “second wave” for the pandemic, which may
 6
      result in a more dangerous set of circumstances than the first wave and produce a larger
 7
 8    percentage of cases and deaths later this Summer or Fall. Simply put, there is nothing

 9    that presently suggests that the pandemic will be “over” by August or that any degree of
10
      true normalcy will be restored by that date.23
11
12           Critically, a trial in August in the middle of the COVID-19 pandemic would have
13    a significant, negative and dramatic impact on Mr. Avenatti’s rights,24 including (a) his
14
      rights to effective assistance of counsel, including pre-trial preparation, trial
15
16    performance, and midtrial consultation with counsel, (b) to be tried entirely on properly
17    admitted evidence; (c) to be tried by a fair cross-section of the community; (d) to
18
      meaningful confrontation; (e) to compulsory process; (f) to an impartial jury that can
19
20    reasonably be expected to hear the evidence with the appropriate attention, and to be free
             22
21                See https://covid19.ca.gov/roadmap-counties/, visited May 25, 2020.
22           23
                  For instance, California State University, the largest four-year public university system in the
23    United States, announced on May 12, 2020 that, with few exceptions, they were suspending in-person
24    classes at its 23 campuses throughout the state, including in Orange County, because a course that

25    might begin in a face-to-face modality would likely have to be switched to a virtual format during the
      term if a serious second wave of the pandemic occurs, as forecast.
26
             24
                  Mr. Avenatti’s health issues and heightened risk for serious injury or death as a result of
27
      contracting the virus are well documented in the record and are, therefore, not repeated here.
28

                                                            16
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 24 of 72 Page ID #:2563



 1    of coercive verdicts; (g) to be free of coercive pressure to plead guilty; and (h) to the
 2
      exercise of reasonable care for the safety of those endangered by state action.
 3
 4          A.     Trial during a deadly, highly contagious pandemic would impair the
                   defendant’s right to effective of assistance of counsel.
 5
            Defendants enjoy a right to the assistance of counsel at all critical stages of a
 6
      criminal proceeding. See Montejo v. Louisiana, 556 U.S. 778, 786 (2009). Both the trial
 7
 8    itself and the post-indictment period before trial constitute critical stages. See Kirby v.
 9
      Illinois, 406 U.S. 682, 688 (1972) (right to counsel attaches “at or after the time
10
      adversary judicial proceedings have been initiated against him”). When defendants
11
12    suffer the impairment of counsel by a state-created barrier, they need not show that the
13
      inadequate performance affected the outcome – they need only show that such barriers
14
      affected counsel’s performance. See Smith v. Robbins, 528 U.S. 259, 287
15
16    (2000)(“various kinds of state interference with counsel's assistance’ can warrant a
17
      presumption of prejudice.”)(internal quotations omitted); Perry v. Leeke, 488 U.S. 272
18

19
      (1989)(recognizing that while most claims of ineffectiveness require a showing of

20    prejudice, “direct governmental interference with the right to counsel is a different
21
      matter.”) And in some circumstances, the effective performance of counsel is so
22
23
      unlikely as to amount to the functional equivalent of a complete denial of counsel. See

24    United States v. Cronic, 466 U.S. 648 (1984); Burdine v. Johnson, 262 F.3d 336, 347
25
      (5th Cir. 2001) (en banc). In these cases, reversal is automatic. See Cronic, 466 U.S. at
26
27    659

28

                                                    17
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 25 of 72 Page ID #:2564



 1          Trial under the current circumstances would destroy the defendant’s right to
 2
      counsel in multiple ways and would constitute both the state interference with the duties
 3
 4    of counsel and the constructive denial of counsel altogether.

 5                 1.     Trial in August would so compromise counsel’s trial performance as
                          to constitute a complete denial of counsel; it would also destroy any
 6                        meaningful right to mid-trial attorney-client consultation.
 7          Trial in a setting that gravely threatens his or her own physical well-being – as
 8
      well as that of his or her client and family -- amounts to the constructive denial of
 9
10    counsel. See Powell v. Alabama, 287 U.S. 45, 53 (1932)(demand that counsel try a

11    capital case on short notice and under thinly veiled threat of mob violence effectively
12
      deprived defendants of counsel). Conducting a jury trial always requires immense and
13
14    sustained focus. Under the best of circumstances, even a simple criminal trial presents
15    innumerable moving parts that require the full, rapt attention of one or more attorneys.
16
      And if an attorney stumbles on any point, such a misstep may rightfully become
17
18    scrutinized on appellate review, in habeas petitions, and even bar complaints.
19          Unfortunately, even skilled and experienced trial attorneys would find it
20
      impossible to maintain the necessary sustained focus in the current environment. During
21
22    a deadly pandemic, every step an attorney takes, every pen he or she picks up, every
23    person that wants to converse, and every cough he or she hears, could mean infection
24
      with a deadly virus. This concern is even more heightened as a result of undersigned
25
26    counsel’s age and health condition (68 years old with diabetes), which places him in a
27
      high risk category for contracting the virus and suffering serious consequences. And he
28

                                                   18
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 26 of 72 Page ID #:2565



 1    will also be seriously concerned about who will be exposed to the virus when he or she
 2
      leaves court each day. Preserving Mr. Avenatti’s rights, moreover, will require some
 3
 4    effort to put on the record at least the most serious occasions of such distractions.

 5          Quite apart from the question of divided attention, trying the case under COVID-
 6
      19 protocols will undermine counsel’s ability to perform other basic functions. Counsel
 7
 8    – like the jury, and judge – probably will not understand all of the testimony of masked

 9    witnesses and will certainly be unable to evaluate their demeanor. Nor will counsel be
10
      able to judge the reactions of jurors or the Court. Indeed, a crucial part of being an
11
12    effective trial advocate is the ability to gauge the reaction of jurors to the evidence and
13    witness testimony in real time and adjust your presentation and trial strategy accordingly.
14
      If the jurors are forced to wear masks covering a significant portion of their faces, the
15
16    ability of trial counsel to perform this critical task is eliminated. Communication with
17    co-counsel, witnesses, and paralegals will likewise be impaired.
18
            Most critically, counsel will have to choose between his or her own safety and
19
20    consultation with Mr. Avenatti, who faces years in prison. The defendant possesses an
21    unqualified right to consult with his attorney throughout his trial. See Geders v. United
22
      States, 425 U.S. 80 (1976). Indeed, that right prevails over even very weighty concerns
23
24    of trial administration, such as the witness sequestration rule. See Geders, 425 U.S. at
25
      88-92.
26
            The current setting burdens this right in several ways. The efficacy of attorney-
27
28    client consultation diminishes at a distance. If the defendant and counsel can hear each
                                                   19
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 27 of 72 Page ID #:2566



 1    other at this distance, they probably cannot speak privacy, as contemplated by the Sixth
 2
      Amendment. See Weatherford v. Bursey, 429 U.S. 545, 554 n. 4 (1977). And because
 3
 4    such conversations cannot be conducted safely, privately, and effectively, they will

 5    inevitably be conducted less frequently than necessary. Nor, of course, could such
 6
      consultations be safely conducted at shorter distances.
 7
 8          Conceivably, the Court could recess the trial each time the defendant and his

 9    counsel wished to confer, to permit a private conversation. This would exact a massive
10
      toll on the trial’s efficiency, and likely generate frustration and resentment by jurors
11
12    toward the defendant. Further, it would call heightened attention to the defendant’s
13    conferences with his lawyer, and increase the risk that the jury draws factual inferences
14
      of guilt from his behavior at counsel table. The defendant’s consultation with his lawyer,
15
16    like his conduct at counsel table generally, constitute improper bases for conviction.
17                 2.     Trial in August would effectively deprive the defendant of the right to
                          counsel in the period of pretrial preparation.
18

19
            The Supreme Court has recognized “that the assistance of counsel cannot be

20    limited to participation in a trial; to deprive a person of counsel during the period prior to
21
      trial may be more damaging than denial of counsel during the trial itself.” See
22
23
      Weatherford v. Bursey, 429 U.S. 545, 554 n. 4 (1977). Here, an August trial would

24    compromise several important forms of pre-trial preparation.
25
            First, counsel cannot reasonably make strategic decisions without basic knowledge
26
27    about how it will be conducted, including as it relates to voir dire. It is anticipated that

28    due to Mr. Avenatti’s notoriety and the media attention surrounding his arrests and
                                                    20
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 28 of 72 Page ID #:2567



 1    recent conviction, an initial panel of at least 125-150 prospective jurors will be
 2
      required.25 But the protocols surrounding jury selection, and the trial itself, have yet to
 3
 4    be disclosed or discussed.

 5           Trial attorneys should be expert in the rules and procedures that govern the trial.
 6
      Without a detailed recitation of the trial protocols, the defense can neither prepare
 7
 8    evidence for the trial nor challenge its processes. Cross-examination strategies, for

 9    example, may depend on whether a witness will be wearing a mask. Counsel cannot
10
      responsibly decide how much evidence to present without knowing how uncomfortable
11
12    or fearful the jury will be when hearing it. Nor can the defense know how to display its
13    exhibits or demonstrative aids without knowing where and how the jury will sit, or what
14
      technology is available. Further, witnesses cannot be prepared without being able to tell
15
16    them how they will testify: in a mask, over closed circuit TV, at the far side of the room.
17    Most critically, the defendant’s own choice to testify may well be affected by the Court’s
18
      decision about whether he is going to do so in a mask.
19
20           There is also the question of how discussions at the bench will occur during the
21    trial. Oftentimes during a trial, the parties need to discuss a matter out of earshot of the
22
      jury and those discussions take place huddled at the bench. Will the jury be excused each
23
24
25
             25
26                If social distancing requirements are to be met, this will require a contiguous space of at least
      14,125 square feet (125 individuals x 113 square feet per individual (area of a circle with a 6 foot
27
      radius), not accounting for Court staff and attorneys.
28

                                                            21
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 29 of 72 Page ID #:2568



 1    time a discussion needs to occur with the Court so the parties may remain some distance
 2
      from each other?
 3
 4          Pretrial consultation has also been significantly affected. Beyond the inability to

 5    review discovery with the defendant as discussed above, counsel cannot converse with
 6
      the defendant or the defense witnesses live, in face-to-face confrontation, in order to
 7
 8    judge demeanor for possible testimony.

 9          Put simply, the assistance of counsel that the defendant would receive in these
10
      circumstances would not be what the Constitution demands. Insistence on proceeding
11
12    with a lengthy trial under these circumstances would represent an “unreasoning and
13    arbitrary ‘insistence upon expeditiousness in the face of a justifiable request for delay.’”
14
      Morris v. Slappy, 461 U.S. 1, 11–12, (1983) (citing Ungar, 376 U.S. at 589). It would
15
16    therefore violate the constitution.
17          B.     Trial during a deadly pandemic would deprive the defendant of trial
                   before a fair cross-section of the community.
18

19
            The Sixth Amendment and 28 U.S.C. §1861 et seq. (the “Jury Selection Act”)

20    guarantee a party a trial before a fair cross-section of the community. In order to show a
21
      violation of the statute, a defendant must prove a “substantial failure” to comply with its
22
23
      provisions. A substantial failure is one that destroys the “random nature or objectivity of

24    the selection process.” United States v. Hemmingson, 157 F.3d 347, 358 (5th Cir.
25
      1998)(internal citations omitted, quoting 28 U.S.C. § 1867(a)), and United States v.
26
27    Kennedy, 548 F.2d 608, 612 (5th Cir.1977).

28

                                                   22
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 30 of 72 Page ID #:2569



 1          To show a Sixth Amendment violation, the defendant must show that (1) “the
 2
      group alleged to be excluded [from the jury system] is a ‘distinctive’ group in the
 3
 4    community,” (2) “the representation of this group in venires from which juries are

 5    selected is not fair and reasonable in relation to the number of such persons in the
 6
      community,” and (3) “this underrepresentation is due to systematic exclusion of the
 7
 8    group in the jury selection process.” Duren v. Missouri, 439 U.S. 357, 364 (1976).

 9          Jury summonses issued during the pandemic cannot produce a lawful cross-
10
      section of the community. Neither the coronavirus nor the economic dislocation it has
11
12    occasioned have affected the community uniformly. Some portions of the Central
13    District have suffered higher infection rates, and experience greater risks of serious
14
      illness or death than have others. Nor is fear of the virus uniform along ethnic or racial
15
16    lines. Because of significant racial and ethnic differentials in infection rates and access
17    to health insurance, different racial and ethnic groups within our community may feel
18
      greater vulnerability to the virus in the event it is contracted.
19
20          As to the economic effects, some segments of our community have experienced
21    elevated rates of occupational dislocation, and graver risks to family finances upon
22
      losing a job or paycheck. Further, some ethnic and racial groups have higher
23
24    concentrations of employment in critical industries. Women are also concentrated in
25
      these industries. Finally, the age structure of each ethnic and racial grouping in our
26
      community varies significantly. Moreover, the virus’s disruption of childcare
27
28    arrangements will certainly affect different ethnic and racial groupings, and their ability
                                                     23
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 31 of 72 Page ID #:2570



 1    and willingness to serve on a jury, differently. These differences will almost certainly
 2
      manifest themselves in differential response rates to summons.
 3
 4          The magnitude and breadth of social and economic change in the immediate wake

 5    of the virus is absolutely vast. Predictions about the precise ways that the virus will skew
 6
      summons response rates are therefore dangerous and unknown. Certainly, however, the
 7
 8    group of people who answer the summons will not resemble a typical, representative

 9    jury pool in the Central District.
10
            That suffices to show a violation of the Jury Selection Act and the Constitution.
11
12    The act of sending summons at the peak of a pandemic “destroys the random nature” of
13    jury selection. For instance, just as a jury summons issued for service on a major
14
      religious holiday observed by a plurality of the community would not produce a
15
16    “random” selection of its residents, nor would a summons issued during a pandemic that
17    affects large ethnic groups more severely than its white, conservative, Republican
18
      residents.
19
20          The issuance of a summons for jury duty in August will likely skew the venire by
21    large margins along multiple cognizable cleavages. Further, the unequal probabilities for
22
      jury service among each group will result from systemic, rather than random, factors.
23
24    The decision to convene a jury trial in this short moment of intense social dislocation
25
      represents a “procedure[] in the jury selection process that work(s) to exclude class
26
      members.” United States v. Snarr, 704 F.3d 368, 385 (5th Cir. 2013).
27
28

                                                   24
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 32 of 72 Page ID #:2571



 1          Finally, even if every cognizable group in the District had the same probability of
 2
      jury selection, COVID-19 notwithstanding, it would still violate the Jury Selection Act
 3
 4    and Sixth Amendment. If we can predict nothing else about jury selection in a pandemic,

 5    one thing is almost certain: the response rate will be abnormally low. Because an
 6
      adequate sample size is essential to random selection, this fact alone will “destroy the
 7
 8    random nature” of the selection process. Further, it will significantly increase the

 9    likelihood that the responding population underrepresents someone, and hence increase
10
      the likelihood of a homogenous or statistically outlying jury. This is not a fair cross-
11
12    section. See State v. Long, 499 A.2d 264, 272 (N.J. 1985) (a system that produces
13    homogenous venires does not produce a fair cross-section, even if each resident has an
14
      equal chance of service).
15
16          C.     Trial during a deadly pandemic would compromise the defendant’s
                   right to meaningful confrontation.
17
            The Constitution guarantees the defendant the right to confront witnesses against
18

19
      him. See U.S. Const. Amend. VI. An essential component of that right is:

20    [T]he opportunity, not only of testing the recollection and sifting the conscience of the
21
      witness, but of compelling him to stand face to face with the jury in order that they may
      look at him, and judge by his demeanor upon the stand and the manner in which he gives
22    his testimony whether he is worthy of belief.
23
      Mattox v. United States, 156 U.S. 237, 242 (1896); accord Maryland v. Craig, 497 U.S.
24
25    836, 845 (1990); Coy v. Iowa, 487 U.S. 1012 (1988); California v. Green, 399 U.S. 149

26    (1970). Compelling witnesses to testify in a face covering would obviously impair the
27
28

                                                   25
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 33 of 72 Page ID #:2572



 1    jury’s capacity to judge the witnesses’ facial expressions and demeanor when “standing
 2
      face to face” and “looking at” the witnesses.
 3
 4           In some cases, courts have permitted witnesses to testify in facial covering to

 5    protect their safety. See, e.g., United States v. DeJesus-Castaneda, 705 F.3d 1117, 1120
 6
      (9th Cir. 2013); see also Craig, 497 U.S. at 851 (closed circuit testimony); United States
 7
 8    v. El-Mezain, 664 F.3d 467, 491-494 (5th Cir. 2011)(pseudonymous witness). But in

 9    those cases, the witnesses feared retaliation, and no alternative measure could assure
10
      their safety. See DeJesus-Castaneda, 705 F.3d at 1120; El-Mezain, 664 F.3d at 491-494.
11
12    Thus, facial coverings furthered an important government interest and did not render the
13    testimony unreliable. See DeJesus-Castaneda, 705 F.3d at 1120; see also Craig, 497
14
      U.S. at 850 (recounting this test). Here, by contrast, nothing more is at stake than a
15
16    delay in the trial date – unmasked testimony will be perfectly safe after the pandemic.
17    Further, if the witnesses cannot be understood, their testimony – as comprehended by the
18
      jury – is not reliable.
19
20           Finally, the right of confrontation may be drained of its value even if the witnesses
21    do not testify in coverings. If the jury finds that government witnesses appear nervous or
22
      concerned about their answers, this fact may have little probative value in a pandemic.
23
24    Large numbers of the trial participants will be scared to be in public during a deadly
25
      infection, a matter wholly independent of the truth of their testimony. Accordingly, a
26
      continuance is necessary to protect the core of the defendant’s confrontation right.
27
28

                                                   26
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 34 of 72 Page ID #:2573



 1          D.     Trial during a deadly pandemic would compromise the defendant’s
                   right to compulsory process, to present evidence, and to testify.
 2
            The Sixth Amendment promises Mr. Avenatti “compulsory process for obtaining
 3
 4    witnesses in his favor.” U.S. Const. Amend. VI. “Few rights are more fundamental than
 5
      that of an accused to present witnesses in his own defense.” Taylor v. Illinois, 484 U.S.
 6
      400, 408 (1987); accord Chambers v. Mississippi, 410 U.S. 284, 302 (1973). Moreover,
 7
 8    “the right is a fundamental element of due process of law.” Taylor, 484 U.S. at 409;
 9
      accord Washington v. Texas, 388 U.S. 14, 19 (1967). These rights carry special force
10
      when the defendant himself seeks to testify. See Rock v. Arkansas, 483 U.S. 44, 49-52
11
12    (1987). The defendant’s right to testify overcomes even strong public policy concerns
13
      about the reliability of evidence, and may defeat even less than absolute prohibitions on
14
      giving testimony. See Rock, 483 U.S. at 56-62. That right arises from dignitary
15
16    concerns – the personal nature of the right to be heard “in his own words” -- and not
17
      solely on constitutional protections against unreliable verdicts. Id. at 52.
18

19
            Trial during a pandemic would undermine this complex of fundamental rights.

20    Assuming defense investigators can make service of subpoenas, the pandemic creates a
21
      serious risk of witness non-compliance. And if defense witnesses do appear, the jury
22
23
      cannot evaluate their credibility, whether positively or negatively, if they testify in facial

24    coverings. Further, causing witnesses to testify in a state of fear significantly prejudices
25
      Mr. Avenatti.
26
27          If nothing else, the need to testify in facial coverings will seriously abridge the

28    defendant’s right to be heard. This is true in a literal sense – early experience with
                                                    27
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 35 of 72 Page ID #:2574



 1    speaking through facial coverings suggests that it is often incomprehensible. But it is
 2
      also true in another sense -- the jury will not be able to see and evaluate Mr. Avenatti’s
 3
 4    face if he testifies. Speech is more than expulsion of sound waves; it is a full

 5    presentation of the self, especially through facial expression. Accordingly, a defendant
 6
      compelled to testify behind a mask is no more heard “in his own words” than one
 7
 8    compelled to deliver testimony in writing.

 9          Finally, causing Mr. Avenatti and other witnesses to appear in Court while they
10
      are nervous about health issues unrelated to guilt or innocence, or the facts of the case,
11
12    prejudices the defendant. Jurors will observe Mr. Avenatti while the trial is proceeding
13    and if he appears nervous they could unfairly interpret that as consciousness of guilt.
14
      Likewise, they could interpret the nervousness of a defense witness as a sign of lacking
15
16    credibility or belief in their own testimony.
17          E.     Trial during a deadly pandemic would compromise the defendant’s
                   right to be present and to be judged without the effect of a prejudicial
18                 face covering.
19          Ultimately, the defendant will either attend the trial in a mask or without one.
20
      Neither option is fair to him. Due process requires courts to consider whether the
21
22    appearance of the defendant will prejudice the jury, and to take care to avoid such
23    prejudice. See Estelle v. Williams, 425 U.S. 501 (1976). Thus, defendants may not be
24
      tried in prison garb, see Williams, 425 U.S. at 505, nor in shackles barring clear threats to
25
26    the safety or good order of the proceedings. See Deck v. Missouri, 544 U.S. 622 (2005).
27
28

                                                      28
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 36 of 72 Page ID #:2575



 1           Our culture very frequently associates masks with villainy. Train bandits,
 2
      Hannibal Lecter, and Klansman, figures now etched into the contemporary American
 3
 4    subconscious, all wear masks. And there may well be a segment of the population that

 5    dislikes not merely the mask but the people who wear them.26 Indeed, there are already
 6
      signs that wearing a mask is becoming widely politicized, with media reports of “mask
 7
 8    shaming” in the United States and conservative supporters of the President labeling

 9    individuals who wear masks as “left wing liberals who don’t respect individual
10
      freedoms.”
11
12           Alternatively, Mr. Avenatti’s presence without a mask could prejudice the jury
13    against him, inviting inferences that he is selfish and reckless towards the lives of others.
14
      Some jurors may agree with New York Governor Andrew Cuomo, a major public figure
15
16    in the country’s COVID-19 response, who said publically that mask refusal “is
17    insensitive, it is arrogant, it is self-destructive, it is disrespectful to other people.”27 The
18
      Court should wait until a time that it does not have to make this choice.
19
20           26
                  See Ryan Lizza and Daniel Lippman, Wearing a mask is for smug liberals. Refusing to is for
21
      reckless Republicans (May 1, 2020)(“On the right, where the mask is often seen as the symbol of a
22    purported overreaction to the coronavirus, mask promotion is a target of ridicule, a sign that in a deeply
23    polarized America almost anything can be politicized and turned into a token of tribal affiliation.”),
24    available at https://www.politico.com/news/2020/05/01/masks-politics-coronavirus- 227765, last

25    visited May 26, 2020.
             27
26                George Back, Andrew Cuomo on 'selfish' New Yorkers not wearing masks: 'I just don't get it',
      Yahoo Entertainment (May 7, 2020), available at https://sports.yahoo.com/andrew-cuomo-on- selfish-
27
      new-yorkers-not-wearing-masks-i-just-dont-get-it-074031942.html, last visited May 26, 2020.
28

                                                          29
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 37 of 72 Page ID #:2576



 1          F.     Trial during a deadly pandemic would compromise the defendant’s
                   right to be tried by an impartial jury and to be free of coercive verdicts.
 2
            Trial during a deadly pandemic would compromise the defendant’s right to be trial
 3
 4    by an impartial jury and to be free of coercive verdicts. The Supreme Court “has
 5
      recognized that a defendant has a right to a tribunal both impartial and mentally
 6
      competent to afford a hearing.” Tanner v. United States, 483 U.S. 107, 126 (1987);
 7
 8    Jordan v. Massachusetts, 225 U.S. 167, 176 (1912). Moreover, the jury should be
 9
      reasonably attentive. And it cannot be coerced into rendering a premature verdict.
10
            A trial in August cannot be accomplished consistently with these principles. Jurors
11
12    will not likely devote their full attention to the testimony and evidence while they worry
13
      about their safety and that of loved ones. Nor can they be expected to remain neutral in
14
      these circumstances, free of any resentment toward the prosecution for bringing the case,
15
16    or, more likely, the defendant for insisting on a jury trial. Finally, when the jury returns
17
      for deliberations, the Court should not be surprised by a quick verdict to terminate the
18

19
      proceedings. Other than avoiding service through voir dire or simple non-compliance

20    with a summons, which should both be expected as jurors seek to avoid potentially
21
      deadly exposure to the virus, the speed of the verdict will be the one way that jurors can
22
23
      control the duration of their viral exposure. In deciding whether a verdict is coerced, “the

24    real question is whether the jury was required to deliberate an unreasonable length of
25
      time or for unreasonable intervals or was threatened with the prospect of such
26
27    unreasonably lengthy deliberations.” United States v. Kimmel, 777 F.2d 290, 295 (5th

28

                                                    30
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 38 of 72 Page ID #:2577



 1    Cir. 1985). In the midst of a pandemic, nearly any amount of time is “an unreasonable
 2
      length of time.”
 3
 4          G.     Trial during a deadly pandemic would compromise the defendant’s
                   right to be free of coercive pressure to plead guilty.
 5
            The choice between trial and a plea of guilty must be made entirely voluntarily,
 6
      and without any threats or promises of unlawful action. See Brady v. United States, 397
 7
 8    U.S. 742, 748 (1970); Machibroda v. United States, 368 U.S. 487, 493 (1962); Waley v.
 9
      Johnston, 316 U.S. 101, 104 (1942); Walker v. Johnston, 312 U.S. 275, 286 (1941);
10
      Chambers v. Florida, 309 U.S. 227 (1940); Kercheval v. United States, 274 U.S. 220,
11
12    223 (1927). Scheduling a trial in August would undermine the voluntary character of
13
      this choice in two ways.
14
            First, proceeding with a trial in August undermines the value of the jury trial as a
15
16    means for obtaining exoneration or acquittal upon less than proof beyond a reasonable
17
      doubt. Even if the government fails to present proof beyond a reasonable doubt, Mr.
18

19
      Avenatti may be convicted for improper reasons: because defense counsel is too

20    distracted to mount an effective cross-examination, because the jury lacks the
21
      accumulated wisdom and experience of a diverse cross-section, because the jury cannot
22
23
      see a witness smirk beneath his mask, because a crucial defense witness ignores a

24    subpoena rather than risk his or her life to the virus, because the jury feels prejudice
25
      toward the defendant because he is or is not wearing a mask, because the jury is too
26
27    distracted to notice the holes in the government’s case, because the jury resents Mr.

28

                                                   31
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 39 of 72 Page ID #:2578



 1    Avenatti’s insistence on a trial, or because the last hold-out juror surrenders her honest
 2
      convictions to get out of a hot zone.
 3
 4          Second, proceeding with a trial in August would force the defendant to choose

 5    between his right to trial and his personal safety. The decision to waive trial by jury is
 6
      not voluntary if the trial could result in death or permanent lung damage to the defendant
 7
 8    or another participant.

 9          H.     Trial during a deadly pandemic would violate the defendant’s due
                   process right to the exercise of reasonable care toward the health and
10                 safety of persons confined by state action.
11          The due process clause “imposes a duty on state actors to protect or care for
12
      citizens when the state affirmatively places a particular individual in a position of danger
13
14    the individual would not otherwise have faced.” Gregory v. City of Rogers, Ark, 974
15    F.2d 1006, 1010 (8th Cir. 1992) (en banc). Due process imposes a duty on state actors to
16
      protect or care for citizens in two situations: first, in custodial and other settings in which
17
18    the state has limited the individuals’ ability to care for themselves; and second, when the
19    state affirmatively places a particular individual in a position of danger the individual
20
      would not otherwise have faced. See Wells v. Walker, 852 F.2d 368, 370 (8th Cir.1988);
21
22    see also DeShaney v. Winnebago County Dep’t of Social Services, 489 U.S. 195 (1989);
23    Freeman v. Ferguson, 911 F.2d 52, 55 (8th Cir.1990). The government violates an
24
      individual’s right to due process when it (1) “affirmatively place[s] [the] individual in
25
26    danger,” or (2) by “acting with ‘deliberate indifference to [a] known or obvious
27
      danger.’” Jones v. Phyfer, 761 F.2d 642 (11th Cir. 1985) (a constitutional right to
28

                                                    32
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 40 of 72 Page ID #:2579



 1    protection by the state exists when there is a showing that the victim faces a special
 2
      danger distinguishable from that of the public at large).
 3
 4          Barring a plea of guilty, Mr. Avenatti is compelled to attend his own trial. And as

 5    argued above, the trial, however conducted, and certainly if conducted in a way that
 6
      respects any of Mr. Avenatti’s procedural rights, will expose him to a serious risk of
 7
 8    contracting the virus. Accordingly, proceeding with a trial in August will deprive him of

 9    the due process right to physical security in the face of state-created danger.
10
11
12    Dated: May 27, 2020                       Respectfully submitted,

13
                                                /s/ H. Dean Steward
14
                                                H. DEAN STEWARD
15
                                                Attorney for Defendant
16                                              MICHAEL JOHN AVENATTI

17
18

19
20
21
22
23
24
25
26
27
28

                                                   33
     Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 41 of 72 Page ID #:2580



 1                                 CERTIFICATE OF SERVICE
 2
            I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 3
 4    age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I

 5    am not a party to the above-entitled action. I have caused, on May 27, 2020, service of
 6
      the defendant’s:
 7
 8                                       STATUS REPORT

 9
10
      on the following party, using the Court’s ECF system:
11
12    AUSA BRETT SAGEL AND AUSA JULIAN ANDRE
13    I declare under penalty of perjury that the foregoing is true and correct.
14
      Executed on May 27, 2020
15
16                                            /s/ H. Dean Steward
17                                            H. Dean Steward
18

19
20
21
22
23
24
25
26
27
28

                                                   34
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 42 of 72 Page ID #:2581




                             EXHIBIT A
5/26/2020                      ManhattanDocument
            Case 8:19-cr-00061-JVS      Jail That Holds El164
                                                           Chapo Is Called Tougher
                                                                  Filed    05/27/20Than Guantánamo
                                                                                          Page 43  Bay -of
                                                                                                         The72
                                                                                                             New York
                                                                                                                 Page Times
                                                                                                                         ID #:2582
                           https://nyti.ms/2jSC3wa



Manhattan Jail That Holds El Chapo Is Called Tougher Than Guantánamo Bay
By Joseph Goldstein

Jan. 23, 2017


The Metropolitan Correctional Center, the rust-colored fortress in Lower Manhattan where hundreds of federal inmates are housed, was
described as less hospitable than Guantánamo Bay by one inmate who had been incarcerated at both. The highest risk half-dozen inmates
— or at least the ones facing the most severe charges — are housed in conditions so isolating that some have blamed them for
deteriorating eyesight.

This is where federal agents brought Joaquín Guzmán Loera, the drug lord known as El Chapo, when he was extradited to the United
States last week after two escapes from high-security Mexican prisons.

The Metropolitan Correctional Center, which held Ramzi Ahmed Yousef, the mastermind of the 1993 bombing of the World Trade Center,
and Bernard L. Madoff, who orchestrated a $20 billion Ponzi scheme, has a reputation for stringent security measures. Even so, several
inmates over the years have tried to escape, and a few have succeeded.

The most sensational attempt occurred in 1981, when an inmate was nearly plucked off the rooftop recreational center by confederates in a
hijacked helicopter. And in 1990, two inmates disappeared out a second-story window, lowering themselves with an electrical cord from a
machine used to buff the ﬂoors. One is still on the United States Marshals Service’s list of most wanted fugitives.




                                        Joaquín Guzmán Loera, the drug lord known as El Chapo, was brought to the center after
                                        he was extradited to the United States from Mexico. U.S. law enforcement, via Associated
                                        Press




In 2009, Anthony Boyd, a serial bank robber, was released from the Metropolitan Correctional Center as a result of what appeared to be an
administrative error.

Whether there have been other successful escapes or missing prisoners in recent years is unclear. Ofﬁcials at the Metropolitan
Correctional Center did not return a phone call or respond to an email message seeking comment.

The jail, opened in 1975, holds about 795 inmates. It is wedged between the Church of St. Andrew and the United States Court House. From
the upper ﬂoors of the courthouse, inmates can be seen playing basketball in the rooftop recreation area.

It is unlikely Mr. Guzmán will be permitted to join them. The inmates deemed most dangerous are housed in a half-dozen cells in a small
wing known as 10 South, where they are held in solitary conﬁnement and prohibited from calling out to one another. The lights are on 23 or
24 hours a day, according to court records, interviews with lawyers and written accounts. The frosted glass windows offer no view of the
outside world. Even the slot on each cell door is kept shut, meaning that inmates see little beyond their solitary cell.

But guards can see inside, by way of a camera directed at the shower stall and another above the toilet or bed, according to a published
account by Uzair Paracha, who was held there for two years until 2005, when he was convicted of providing support to Al Qaeda.


https://www.nytimes.com/2017/01/23/nyregion/el-chapo-guzman-manhattan-jail.html                                                            1/3
5/26/2020                      ManhattanDocument
            Case 8:19-cr-00061-JVS      Jail That Holds El164
                                                           Chapo Is Called Tougher
                                                                  Filed    05/27/20Than Guantánamo
                                                                                          Page 44  Bay -of
                                                                                                         The72
                                                                                                             New York
                                                                                                                 Page Times
                                                                                                                         ID #:2583




   A police sharpshooter aimed at one of the roof doors of the center during an escape attempt in 1981. Larry C. Morris/The New York Times



Mr. Paracha said it was not unusual for inmates to notice their eyesight deteriorating while in 10 South, and to request eyeglasses for an
onset of nearsightedness.

Other than prayers, the only human voices were typically the sounds of guards cracking jokes at the inmates’ expense, according to Mr.
Paracha, whose detailed account of life in the Metropolitan Correctional Center is included in the 2016 book “Hell Is a Very Small Place:
Voices from Solitary Conﬁnement.”

This litany of severe conditions, known generally as “Special Administrative Measures,” requires the approval of the attorney general. In
2011, Amnesty International wrote to Attorney General Eric H. Holder Jr., expressing concern that the conditions amounted to cruel and
inhuman treatment.

“The segregated units are horrifying and inhumane,” David E. Patton, the executive director of Federal Defenders of New York, wrote by
email. “If you wanted to intentionally design a place to drive people mad, you’d be hard pressed to do better.”

Mr. Patton, whose ofﬁce represents Mr. Guzmán and many inmates in the Metropolitan Correctional Center, described the isolation on 10
South as stark, with prisoners’ days mostly devoid of human interaction. “The ﬂuorescent lights are always on,” he said. “The only sound is
the occasional clanking of metal when doors are opened and closed.”




https://www.nytimes.com/2017/01/23/nyregion/el-chapo-guzman-manhattan-jail.html                                                              2/3
5/26/2020                      ManhattanDocument
            Case 8:19-cr-00061-JVS      Jail That Holds El164
                                                           Chapo Is Called Tougher
                                                                  Filed    05/27/20Than Guantánamo
                                                                                          Page 45  Bay -of
                                                                                                         The72
                                                                                                             New York
                                                                                                                 Page Times
                                                                                                                         ID #:2584




                                        The motorcade carrying the Mexican drug kingpin known as El Chapo arrived at the
                                        Metropolitan Correctional Center on Thursday. Jason Szenes/European Pressphoto Agency



The 10 South unit is reached by a stairway from the ninth ﬂoor, a secure area known as the “Special Housing Unit,” which has its own
stringent security measures. Even so, getting into 10 South, from the unit on the ninth ﬂoor, requires passing through two locked metal
doors, the ﬁrst of which is controlled electronically and the second of which requires a key, according to testimony.

In 2000, an inmate suspected of terrorism stabbed a guard in the eye with a sharpened plastic comb on 10 South. That attack, which caused
the guard severe brain damage, led to a tightening of security restrictions in the wing and a sense of vigilance that remains.

Within the last three years, guards have reported that one terrorism suspect had left a “drop note” containing coded messages in the
recreation room for his co-defendants to ﬁnd. Defense lawyers, however, said the note reﬂected just “a hunger and a thirst for human
contact.”

Whether Mr. Guzmán will end up being held in 10 South or even in the Metropolitan Correctional Center while his case is pending in
Brooklyn remains unknown. Most inmates facing federal charges in Brooklyn are held at a larger federal jail in Sunset Park, Brooklyn, but
a few are held at the Metropolitan Correctional Center, which is where Mr. Guzmán was returned after his arraignment on Friday.

The Bureau of Prison’s online directory of inmates does not indicate his whereabouts. Mr. Patton declined to discuss Mr. Guzmán’s location
or the case.




https://www.nytimes.com/2017/01/23/nyregion/el-chapo-guzman-manhattan-jail.html                                                           3/3
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 46 of 72 Page ID #:2585




                             EXHIBIT B
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In47
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2586




                       NEWS (/NEWS)




                      Prisoners Endure A Nightmare
                      'Gulag' In Lower Manhattan, Hidden
                      In Plain Sight
                      BY AVIVA STAHL (/STAFF/AVIVA-STAHL)

                      JUNE 19, 2018 10:45 A.M. • 21 COMMENTS




                            MADELEINE CRENSHAW / GOTHAMIST




                      Half a block behind Manhattan’s federal courthouse, two blocks from City Hall, three blocks from the Brooklyn Bridge, and
                      less than a mile from the hustle-and-bustle of Wall Street, sits a detention center that has been condemned by a United
                      Nations human rights expert for exposing its inmates to conditions akin to torture.

                      While reports of the horrendous conditions on Rikers Island helped spur Mayor Bill de Blasio’s pledge to shutter
                      (http://gothamist.com/2017/03/31/close_rikers_recommendation.php) the jail’s violence-plagued facilities, far less
                      attention has been paid to the environment inside the Metropolitan Correctional Center, the federal jail which mainly holds
                      people who have been charged but not yet convicted of crimes, who in the eyes of the law are still presumed innocent.


https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                              1/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In48
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2587
                      Yet those locked up at the MCC are subject to their own indignities and rights violations, say those who have spent time
                      there on both sides of the bars. These include lthy conditions, vermin infestations, substandard medical care, and
                      violence and abuse at the hands of guards. Interviews with a dozen people who have spent time locked up there as recently
                      as 2017, as well as with attorneys who have represented clients at MCC, human rights groups, and others with direct
                      knowledge of the prison, con rm that those incarcerated at MCC often endure a rat-infested, high-rise hell just yards from
                      the federal courts that send them there.




                                                                   Atlanta - Alpharetta - ...
                                                                     3329 Old Milton Parkway

                                                                             Rate as low as

                                                                            $80
                                                                                            per
                                                                                            night




                                                                        3331 Old Milton Pkwy.

                                                                        Atlanta - Alpharetta...

                                                                        3329 Old Milton Parkway

                                                                        Atlanta - Alpharetta...

                                                                        2608 The American Rd. NW

                                                                        Albuquerque - Rio Ra...




                                                                                                  ADVERTISEMENT

                      “I thought there was nowhere worse than Rikers Island,” Melvin Rodriguez, who spent three weeks at MCC, told Gothamist.
                      In October 2016, Rodriguez was arrested in the Bronx on federal charges for selling drugs to a con dential informant, as
                      part of the largest gang raid in New York City history.

                      Rodriguez said the bug and rodent infestation at MCC was particularly horrifying. “The cells [are] very small and at
                      nighttime you hear the mouses, see waterbugs in the shower,” he told Gothamist. At least one former MCC prisoner said the
                      mice would nd their way into commissary boxes, and gnaw away at their food.

                      “You asked about the conditions,” wrote Ricardo Stewart, another young man indicted as part of the Bronx gang raid. “We
                      saw rats so big it seemed like they could only be in the sewer.”

                      “But they wasn't in the streets or the sewers,” Stewart added. “They were more like roommates.”

                      In a special jail-within-a-jail called 10 South, alleged terrorists, mobsters and drug kingpins are subject to some of the most
                      brutal conditions of solitary con nement in the nation. This extreme isolation, reserved for those charged with the most
                      heinous crimes, was described as “a punitive measure that is unworthy of the United States as a civilized democracy,”
                      according to a former special monitor
                      (https://ccrjustice.org/sites/default/ les/assets/ les/US%20experts%20submission%20to%20House%20of%20Lords%20extradition%20com
                      on torture and punishment for the United Nations who investigated the case of one prisoner held there for three years.

                      Hundreds of people indicted in the Southern District of New York, as well as many individuals indicted in the Eastern
                      District, based in Brooklyn’s federal court across the river, end up at the jail awaiting trial for federal offenses including
                      drug-related crimes, fraud, bribery, and sex offenses. Defendants facing terrorism charges have spent more than three


https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                 2/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In49
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2588
                      years at the facility, attorneys say. But even those facing less high-pro le charges generally spend at least one or two years
                      there before their criminal cases are resolved.




                           (Madeleine Crenshaw / Gothamist)

                      The MCC is one of two federal pretrial facilities in New York City; Metropolitan Detention Center, located on the waterfront
                      in Sunset Park, Brooklyn, is the other.

                      They are part of a network of eleven such facilities run by the federal Board of Prisons, with nine spread across the
                      continental U.S. and two others in Honolulu and Guaynabo, Puerto Rico. Many others awaiting trial on federal charges are
                      detained in local jails.

                      This past February, a British appeals court blocked the extradition of alleged hacker Lauri Love to the United States, where
                      he would have most likely been held at either MCC or the federal jail in Brooklyn, the Metropolitan Detention Center.

                      The court determined that Love, who has been diagnosed with Asperger Syndrome and depression, would be at high risk of
                      suicide if he were extradited, in part because of the poor mental health care available at the facilities. MDC and MCC share a
                      single psychiatrist and each have only a handful of psychologists on staff, according to court documents, raising questions
                      (https://www.judiciary.gov.uk/wp-content/uploads/2018/02/lauri-love-v-usa.pdf) about whether the two facilities could
                      adequately treat the nearly 500 inmates suffering from signi cant psychiatric illnesses.

                      New York attorney Joshua Dratel, who has represented clients at the notorious U.S. facility at Guantanamo, says in some
                      regards, MCC—particularly 10 South — is worse. Dratel said he has represented nearly a dozen people who have served time
                      on 10 South, and countless others in MCC. He describes the prison as “soul-negating.” (http://www.latimes.com/nation/la-
                      na-el-chapo-prosecution-20170119-story.html)

                      “It’s physically, mentally, psychologically, emotionally—as unaccommodating to the idea of being human as any place I’ve
                      been,” Dratel told Gothamist.

                      Because MCC is a federal prison, the accountability mechanisms that have helped bring change to Rikers and, to a lesser
                      degree, to New York’s state prisons, cannot be applied. Conditions at MCC may only worsen in the age of Trump and
                      Sessions, who have vowed to step up federal prosecutions (https://www.washingtonpost.com/world/national-
                      security/sessions-issues-sweeping-new-criminal-charging-policy/2017/05/11/4752bd42-3697-11e7-b373-
                      418f6849a004_story.html?utm_term=.871aad63716f%5C) while signaling their disdain
                      (https://www.washingtonpost.com/news/post-nation/wp/2017/07/28/trump-tells-police-not-to-worry-about-injuring-
                      suspects-during-arrests/?utm_term=.d9e7675e5d1a) for the rights of individuals in custody.

                      Jeanne Theoharis (http://www.brooklyn.cuny.edu/web/academics/faculty/faculty_pro le.jsp?faculty=510) is a
                      Distinguished Professor of Political Science at Brooklyn College who has written extensively about conditions at MCC.

                      “If I described these conditions to you— lthy, freezing, no natural light, isolation so extreme that you’re punished for
                      speaking through the walls, absurd rules like prisoners not getting to see the newspapers unless they’re 30 days old,
                      secrecy so deep that people are force-fed and lawyers can be punished for describing the conditions their clients are
                      experiencing—you’d be forgiven for thinking that this was Iran or Russia,” she said.

                      “But in fact this gulag exists right here in lower Manhattan.”

https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                 3/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In50
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2589




                          Activists outside MCC in 2014 during a vigil        No Separate Justice campaign (http://no-            . (Courtesy Tom
                          organized by the                                    separate-justice.org)                               Martinez)

                      When MCC rst opened in 1975 as part of the broader renovation of New York’s downtown civic center institutions, the
                      move was praised as an important step towards prison reform. “[T]he new Metropolitan Correctional Center at Foley Square
                      will bring to New York City its rst piece of advanced - and humane - prison design” hailed The New York Times
                      (https://www.nytimes.com/1975/07/26/archives/new-detention-center-at-foley-sq-is-hailed-as-advance-in-jail.html) in
                      an article published just before the facility’s completion.

                      The cells were designed to be single occupancy, with a total rated capacity for the facility of 474 inmates. But today the
                      prison population at MCC is almost double that number—just shy of 800. Although the vast majority of individuals held at
                      the facility are men, a few dozen women are also detained there.

                      On residential oors, the north and south wings each contain six groups of eight rooms, arranged in a two-tiers clustered
                      around what the Times story termed “a double‐height lounge space” designed to allow prisoners a sense of privacy while
                      ensuring they could be observed from the common space.

                      But the “lounge” hardly resembles a college dorm suite, and by all accounts the overcrowding at MCC leaves little room for
                      comfort. In the dormitory units on the 11th oor, dozens of men are expected to share one toilet, one sink, and one shower.
                      According to one 2015 pro se lawsuit against the BOP led by a prisoner named Levit Fernandini, when the toilets broke
                      down men were given bags to defecate in, which were then not removed from the unit. Some men used the shower as a
                      toilet.

                      In his lawsuit, Fernandini describes the presence of rat and mice droppings throughout the oor, and states that he has
                      “found rats in his bed and seen rats crawling on inmates while they slept.” When he was bitten by a rodent in January 2014,
                      “the counselor for the unit was far from surprised, if anything in light of the infestation, the only surprise is that not every
                      inmate is bitten," he wrote. Fernandini maintains that medical staff ignored his requests for treatment for several days,
                      even after the bite became infected.

                      Medical care at MCC was also condemned by former prisoners and defense attorneys. “Unless it’s life or death there’s no
                      immediate medical care,” prisoner Marlon Roberts wrote Gothamist in a letter. “[I]t can take 2 months to answer your sick
                      call request.”

                      Andrew Laufer, a civil rights attorney who has led several lawsuits challenging conditions at the BOP’s two federal jails in
                      New York City, recalled suing the BOP on behalf of a prisoner at MCC who had had his ngertip chopped off by a cell door.
                      Rather than being placed in an ambulance, alleges Laufer, the man was chained at his ankles and wrists and brought to the
                      hospital by correctional o cers, bleeding profusely.

                      "I think it’s a human rights violation,” Laufer says of the medical care at MCC. “I think it’s an Eighth Amendment violation—
                      deliberate indifference.”

                      There are also claims of extreme brutality by those who are held at the MCC. In September of 2017, Laufer led a lawsuit
                      alleging that after 35-year-old Roberto Grant was beaten to death at MCC in May 2015, the prison staff tried to cover it up, by
                      telling his Grant’s family he’d died of an overdose.




https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                   4/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In51
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2590
                      Gothamist reviewed a copy of the autopsy performed on Grant by the New York City Medical Examiner, which stated the
                      father of two had suffered “blunt force injuries of the head, neck, torso, and extremities” and had no detectable traces of
                      drugs in his system.

                      “You have someone who’s beaten to death in MCC, and there are cameras everywhere,” Laufer said. “There’s not an inch of
                      that facility that is not surveilled. No one cares.”

                      The case is ongoing, and Laufer recently lost a motion to compel the government to release documents and other materials
                      relevant to Grant’s death. In court lings, the Department of Justice has denied wrongdoing.

                      The Bureau of Prisons did not respond to written inquiries about this incident or other allegations laid out in this story. A
                      spokesperson for the BOP also declined to comment.

                      Several prisoners told Gothamist that they had been physically assaulted by staff. “I ended up catching a new charge in MCC
                      for defending myself,” said Fabian Morrison in a letter. “A crazy o cer… attacked me and I defended myself, I’m the seventh
                      inmate he put hands on. He is really fucked up in the head from the military.”

                      In the past fteen years, at least one correctional o cer at MCC has been convicted of beating an inmate
                      (http://www.nytimes.com/2005/05/03/nyregion/metro-brie ng-new-york-manhattan-guard-admits-beating.html), and at
                      least three guards have been found guilty of sexually assaulting prisoners (https://nypost.com/2016/05/04/ex-correction-
                      o cer-sentenced-for-raping-inmate/). In 2016, a former correctional o cer at MCC was sentenced to seven years behind
                      bars for raping a woman detained at the facility. “Even in my dreams, I am suffering ashbacks where I’m repeatedly raped,”
                      the woman told the court. And this past April, a guard was arrested (https://www.justice.gov/usao-sdny/pr/correctional-
                      o cer-arrested-taking-bribes-smuggle-contraband-metropolitan) for taking bribes to smuggle food, alcohol and
                      cellphones into the facility.

                      When individuals held by the Bureau of Prisons are charged with disciplinary offenses, they wait in what is called the
                      Segregated Housing Unit (SHU) for a Disciplinary Hearing O cer (DHO) to review the allegations. That process can take
                      weeks, sometimes months, explained Sarah Kunstler, a New York City-based civil rights and criminal defense attorney who
                      has extensive experience working with clients locked up at MCC. Prisoners don’t get credit for that time towards their
                      eventual punishment, creating a substantial incentive for them to just accept the charge.

                      Moreover, at the hearing, the DHO is often evaluating the prisoner’s word against that of the o cer, so challenging the
                      allegations can feel pointless. "There's an impunity that the o cers [at MCC] have to enforce discipline without any
                      recourse, which allows a kind of arbitrary scheme,” said Kunstler. “There's no test of the allegations, ever."

                      While the BOP does release broad statistics documenting violent incidents
                      (https://www.bop.gov/about/statistics/statistics_prison_safety.jsp) across the federal prison system, it does not publicly
                      release data on how rates of violence vary in individual facilities. However, a September 2012 Government Accountability
                      O ce report (https://www.gao.gov/products/GAO-12-743) on overcrowding in federal prisons noted that “more inmates are
                      sharing cells and other living units, which brings together for longer periods of time inmates with a higher risk of violence
                      and more potential victims.”

                      Sally Butler, another attorney who has represented individuals locked up at MCC, says she encourages her clients do
                      whatever they can to stay out of the crosshairs of correctional o cers. “If the o cer says jump, you jump,” she said.

                      Butler noted that in state court, it makes no difference if a prisoner is charged with disciplinary infractions pretrial. But
                      those tickets can make a huge difference as to what facility federal prisoners are sent to post-conviction.

                      The recreation yard at MCC is on the roof, and prisoners told Gothamist they are brought up for a brief period of exercise
                      about once every three days. The rest of the time they’re locked up in their units with little to do and no access to fresh air
                      or sunlight.

                      Meanwhile, for prisoners held on 10 South, recreation is taken in what essentially amounts to a double cell, with a narrow,
                      barred window, which looks out onto the street and lets in just a tiny bit of fresh air. They are never let outside.




https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                  5/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In52
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2591




                           (Madeleine Crenshaw / Gothamist)

                      In January 2017, after escaping from two Mexican high-security prisons, alleged Mexican drug kingpin “El Chapo,” whose
                      legal name is Joaquín Guzmán Loera, was extradited to the US (https://www.nytimes.com/2017/01/19/world/el-chapo-
                      extradited-mexico.html) to face charges as the head of the Sinaloa cartel, and locked up in 10 South.

                      After months, Guzmán’s sanity started to unravel, according to legal motions
                      (https://www.documentcloud.org/documents/4172978-El-Chapo-Request-for-Mental-Evaluation.html#document/p1) led
                      by his attorneys over the spring and fall of 2017. Auditory hallucinations, depression, paranoia, the inability to remember
                      people, places and events, the client “repeating himself often and sometimes forgetting what the discussion is about,” were
                      the symptoms described by his attorneys in a letter submitted to federal judge Brian Cogan in October 2017. “It is plain to
                      the defense team that something is not right with Mr. Guzman.”

                      But Guzman is just one of the most recent arrivals there. For the last two decades, Muslim men facing terrorism charges
                      have been held on the unit for up to four years before the resolution of their criminal case.

                      Wali Khan Amin Shah said that he was moved onto 10 South right after it was built, in February 1997. The year prior, he and
                      two codefendants were convicted of conspiring (http://articles.baltimoresun.com/1995-05-
                      28/news/1995148047_1_bojinka-philippines-plot) to simultaneously blow up about a dozen planes over the Paci c. Shah
                      was held in 10 South until September 1998, when he was transferred to a different part of the facility.

                      “I been around in this world, almost a decade in a war zone…seen my part of torture and bad prisons, I was in jungles and
                      deserts,” Shah wrote in an email from a federal prison in Indiana. “But the time I spent in 10 South took a large chunk of my
                      soul, it is a very bleak place by design."

                      The lights in 10 South are left on 24 hours per day, according to several former residents. There is a window ap in each cell
                      door, which only the guards can open. The cells are about 17 feet by 8 feet
                      (https://www.nytimes.com/2017/05/04/nyregion/el-chapo-jail-restrictions-joaquin-guzman-loera.html), with two cameras
                        xed on each cell at every moment. Defense attorneys said there were only about six or seven cells on the unit.

                      Ali Yasin Ahmed was transferred to MCC in September 2014, and spent about a year there while he faced charges for
                      providing material support to al-Shabaab. “It’s another thing if someone is at a black site, or all the way in Gitmo,” he told
                      Gothamist, when asked what it was like to experience such austere isolation in downtown Manhattan. “But it is happening
                      [right] next to you, and people don’t realize it.”

                      Like everyone else in the unit, while in 10 South Ahmed was placed under additional restrictions called Special
                      Administrative Measures (SAMs). SAMs came into being in 1996, soon after the Oklahoma City bombing, and give the U.S.
                      Attorney General sole discretion to limit a prisoner’s communication if a determination is made that there is “substantial
                      risk” the prisoner’s contact with others could pose a security threat. (Guzmán is currently under SAMs).

                      During his time at MCC, Ahmed was only allowed to communicate with his attorneys and immediate family members,
                      including his parents, siblings, wife and son. He was permitted one non-legal phone call each month along with one letter
                      per week. But since the letters were rst analyzed and copied by the FBI before being sent out, they often took one to two
                      months to reach his loved ones. Communicating with the media was also strictly prohibited.




https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                 6/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In53
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2592
                      Former 10 South residents told us that prisoners are also not allowed to share books. If a guard brings a book out to the tier
                      and one person reads it, the book must then be destroyed. SAMs generally prohibit prisoners from speaking to each other.
                      At least one individual on 10 South lost his meager family phone privileges for months after greeting another detainee with
                      the Arabic words “A-Salaam-Alaikum.”

                      A September 2017 report (https://ccrjustice.org/sites/default/ les/attach/2017/09/SAMs%20Report.Final_.pdf) published
                      by Yale Law School’s Allard K. Lowenstein’s International Human Rights Clinic and the Center for Constitutional Rights
                      raised concerns that Muslims were disproportionately targeted by the measures. “It appears that a major criterion for
                      deciding whom to place under SAMs was not the prisoner’s demonstrated capacity to communicate dangerous
                      information, but rather the prisoner’s religion.”

                      In a 2011 letter (http://www.amnesty.org/en/documents/AMR51/029/2011/en/) to then-Attorney General Eric Holder,
                      Amnesty International expressed concern that conditions on 10 South “fall short of international standards for humane
                      treatment” and “appear incompatible with the presumption of innocence.” The brutal nature of life on the unit, including its
                      extreme conditions of isolation, were also documented in a 2014 Human Rights Watch report
                      (https://www.hrw.org/report/2014/07/21/illusion-justice/human-rights-abuses-us-terrorism-prosecutions) about human
                      rights abuses in US terrorism prosecutions.

                      During his six-year term as the UN Special Rapporteur for Torture and Other Cruel, Inhuman or Degrading Treatment or
                      Punishment, which ended in October 2016, the BOP prevented Juan Méndez from speaking to suspected or convicted
                      terrorists. Méndez was able to investigate the conditions at 10 South by interviewing family members of the incarcerated
                      and contacting the State Department about the allegations. He ultimately determined
                      (http://www.ohchr.org/Documents/HRBodies/HRCouncil/RegularSession/Session22/A.HRC.22.53.Add.4_Advance_version.pdf)
                      that international human rights protections had been violated.

                      “Prolonged or inde nite solitary con nement—that is, solitary con nement that is prolonged beyond a few days—in icts
                      mental pain and suffering consistent with the de nition of cruel, inhuman or degrading treatment,” Méndez told Gothamist.
                      “And as I said, in some cases is consistent with the de nition of torture.”




                           (Madeleine Crenshaw / Gothamist)

                      Public accountability has played a key role in Mayor de Blasio’s plan to shutter Rikers Island over the next decade and create
                      borough-based jails for the 10,000 people (https://www.nytimes.com/2017/04/05/nyregion/rikers-island-prison-new-
                      york.html) held there. Even New York’s often brutal upstate prisons have come under increased scrutiny
                      (http://www.pulitzer.org/ nalists/tom-robbins-marshall-project-and-michael-schwirtz-and-michael-winerip) by the press
                      and grassroots activists in recent years. New York State legislators voted last spring to stop automatically
                      (http://www.correctionalassociation.org/cmp/raise-the-age-home-page) prosecuting 16 and 17 year olds as adults
                      (although Raise the Age has yet to be fully implemented (https://www.nynmedia.com/content/new-york-city-ready-
                      implement-raise-age)), and a bill sharply curtailing the use (http://nycaic.org/legislation/) of solitary con nement has
                      gained considerable ground (https://www.amny.com/opinion/columnists/mark-chiusano/how-a-proposal-dies-an-albany-
                      story-1.17953591).

                      But when it comes to federal facilities like MCC, the primary responsibility for oversight falls to Congress, which has a long
                      track record of dereliction, according to Amy Fettig, Deputy Director for the ACLU's National Prison Project.

                      “Congress has so much going on, that for them to oversee the Bureau of Prisons in a systematic and effective manner is
                      almost impossible,” Fettig said.
https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                 7/11
5/26/2020                        Prisoners
            Case 8:19-cr-00061-JVS         Endure A Nightmare
                                       Document         164 'Gulag'
                                                              Filed In Lower Manhattan, Page
                                                                        05/27/20        Hidden In54
                                                                                                 Plainof
                                                                                                       Sight
                                                                                                         72- Gothamist
                                                                                                               Page ID #:2593
                      Her words were echoed by Phil Fornaci, the Director of the DC Prisoners’ Project of the Washington Lawyers’ Committee for
                      Civil Rights and Urban Affairs, an organization which that has sued the BOP. “There’s no oversight unless there’s a
                      [Congressional] hearing called,” he said.

                      Fornaci says the Department of Justice has investigated prison conditions on the state and local level. When it comes to
                      the BOP, however, not only does the DOJ not provide oversight, but they actually defend the BOP in litigation. Both he and
                      Fettig agreed that there needs to be an agency established external to both Congress and DOJ if the BOP is to be properly
                      monitored.

                      The Justice Committee within the House of Representatives—and more speci cally the Subcommittee on Crime,
                      Terrorism, Homeland Security and Investigations—holds jurisdiction over prison issues.

                      No members of the subcommittee (https://judiciary.house.gov/wp-content/uploads/2018/04/115th-Crime-Terrorism-
                      Homeland-Security-and-Investigations-Subcommittee-Updated-4-27-18.pdf), which include 7 Democrats and 10
                      Republicans, responded to repeated requests for comment.

                      While there has been increasing advocacy for reforms to local jail and prison conditions, federal prisons remain a kind of
                      political orphan, a situation compounded in the Trump era. “Rikers is a good example of the power of people in a democracy
                      to hold their elected o cials accountable,” said Fettig, “but in the federal context—federal facilities house people from all
                      around the country, and so there’s no natural constituency in the state, city, county they’re located in” to express concern
                      about what’s happening on the inside.

                      As a result, for people locked up at MCC, there’s little hope that conditions will improve anytime soon.

                      That could be exactly the way jailers and prosecutors want it. Pre-trial detention, which often lasts years, can become not
                      only unsafe, but coercive; as a result, individuals are pressured to provide information to prosecutors or accept plea deals
                      in their desperation to be released, say former prisoners.

                      “You want to plead guilty and get out of this dump to a prison,” said Nicky, the former inmate.“The feds have a 98%
                      conviction rate for a reason,” Melvin Rodriguez, another former prisoner said. “They mentally break you.”

                      Asked why he thought MCC has received so much less coverage than Rikers, Rodriguez replied, “I think [MCC] went
                      unnoticed because people think just because it’s the feds the conditions are better.There are certain things that go on in
                      these places that the government covers so the public would never know."

                      Listen to Aviva Stahl discuss MCC with WNYC.




                      Aviva Stahl is a Brooklyn-based journalist who primarily writes about prisons, especially the experiences of terrorism suspects
                      and LGBTQ people behind bars. Follow her @stahlidarity (https://twitter.com/stahlidarity).
                      This story was reported with support from a grant by the CUNY Graduate School of Journalism Urban Reporting Project.



                                                Sign Up for Daily NYC COVID-19 Coverage

                                                   your@email.com


                                                     By submitting your information, you're agreeing to receive
                                                     communications from New York Public Radio in accordance with
                                                     our Terms (https://www.wnyc.org/terms/).



                       #10 SOUTH (/TAGS/10-SOUTH)                 #EL CHAPO (/ TA GS /E L- CH AP O)

                       #FEDERAL PRISONS (/TAGS/FEDERAL-PR IS ON S)                     #M CC ( /T AG S/ MC C)

                       #METROPOLITAN CORRECTIONAL CENTER (/ TA GS /M ET RO POL IT AN -C OR RE CT IO NA L- CE NTE R)

                       #PRISONS (/TAGS/PRISONS)                #ORIGINAL (/ TA GS /O RI GI NA L)




                            Do you know the scoop? Comment below or Send us a Tip (mailto:tips@gothamist.com)




https://gothamist.com/news/prisoners-endure-a-nightmare-gulag-in-lower-manhattan-hidden-in-plain-sight                                                  8/11
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 55 of 72 Page ID #:2594




                             EXHIBIT C
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 56 of 72 Page ID #:2595




            IDEAS
            I Tried to Tell the World About Epstein’s Jail. No
            One Wanted to Listen.
            e Metropolitan Correctional Center has become notorious for decades of
            inhumane treatment.
            AUGUST 16, 2019

            Jeanne Theoharis
            Distinguished Professor of Political Science at Brooklyn
            College




            JEENAH MOON / REUTERS




            “URGENT,” the emails were marked. Since Jeﬀrey Epstein’s death at the
            Metropolitan Correctional Center, at least 20 reporters and shows from a broad
            cross section of the nation’s major news outlets have reached out for context and
            comment about the federal penitentiary. I spent a decade trying to get media
            outlets to pay attention to the MCC, in Lower Manhattan, pleading with
            journalists for hours on the phone, over email, and in person to launch
            investigations of the jail. Over and over, for years, these media organizations did
            not follow up.
https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     1/8
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 57 of 72 Page ID #:2596

            Suddenly, there was urgency to talk about the conditions at MCC. e jail now
            provided an intriguingly grimy backdrop to an already sordid story. e question is
            whether a sustained light will actually be shined on the conditions there, or whether
            the widespread fascination with MCC just becomes part of the spectacle.

            I spent years, alongside lawyers, civil-rights leaders, concerned citizens, and family
            members of the incarcerated, taking part in vigils outside MCC to call attention to
            the inhumanity happening within its walls. Over and over, Department of Justice
            oﬃcials did nothing.

            I went to court hearings and read court lings where people being held there
            attested to the inhumane conditions at MCC. Judges repeatedly refused to
            intervene. Nearly all were persuaded by the government’s incessant claims that such
            conditions were justi ed by necessity and national security.

            When the news broke about Epstein’s death, Attorney General William Barr said he
            was shocked, calling for an investigation into the “serious irregularities” at MCC.
            en on Tuesday, attempting to foist the blame on underlings, he reassigned the
            warden and put two guards on administrative leave.

            is is willful shock, a deeply disingenuous surprise. e scandal is not a few rogue
            employees. e surprise is not that a man in federal custody who had shown
            suicidal tendencies managed to kill himself, nor, conversely, that a man could be
            killed behind bars. Barr and his DOJ (like previous DOJ oﬃcials) knew MCC was
            structured on “irregularities.” So did U.S. Attorney Geoﬀrey Berman, and his
            predecessor, Preet Bharara. So did the judges of the Southern District of New York.
            e federal prison system is replete with “irregularities.”

            [ Ken White: irty-two short stories about death in prison ]

            e real scandal is that the horrors of MCC have existed for decades, hidden in
            plain sight. e journalist Aviva Stahl published a searing exposé last year in
            Gothamist on conditions at MCC that documented the lth, rodents, over owing
            sewage, deeply substandard medical care, wrenching isolation, and often indiﬀerent
            —and at times, cruel—staﬀ. From reports from lawyers and people imprisoned
            there, to the legal motions they have led attempting to mitigate the inhumane
            conditions, to the hundreds of administrative remedies prisoners have lled out to
            request remediation (the rst step prisoners must take to document problems with

https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     2/8
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 58 of 72 Page ID #:2597

            their conditions), to the research of scholars and human-rights organizations, the
            abusive and corrupt conditions at MCC are well documented.

            But a broad swath of public oﬃcials, from the attorney general on down, have
            chosen to countenance these conditions—and major news organizations haven’t
            pressed the issue. As attention nally came to the despicable conditions at Rikers,
            few journalists looked across the river to MCC. Perhaps many labored under the
            misapprehension that while state and local (and private) jails might be mismanaged,
            abusive, and decrepit, the federal government runs a largely rights-respecting, clean
            operation. On top of this, the federal government—and the Bureau of Prisons in
            particular—makes it supremely diﬃcult to investigate its prisons and jails,
            constantly throwing up justi cations for denying access to the materials researchers
            want (“too burdensome,” “ national security,” “privacy,” “internal agency workings”)
            and shrouding their practices in secrecy .

            When news about MCC reaches the public, it typically comes in sensational stories
            about alleged mega-criminals such as Epstein, Sammy “e Bull” Gravano, or
            Joaquín “El Chapo” Guzman being held there—the crimes with which they are
            charged completely obscuring the jail itself. Moreover, while Americans broadly
            profess to oppose torture and cruelty, there’s a tendency to look away from (or even
            take some glee in) the abusive conditions facing incarcerated people, particularly
            those who are publicly reviled.

            I don’t know why the overwhelming majority of journalists I talked with over the
            years never published serious investigations into MCC. Perhaps racialized
            assumptions played a role, separating victims of government abuse whose situations
            seemed urgent and worthy of months of painstaking research from those who are
            assumed to pose exceptional danger and thus perhaps deserve extreme measures. I
            was highlighting the inhumane conditions that largely unknown Muslims facing
            terrorism charges were experiencing at MCC. Now they are calling me about the
            über-rich, white Jeﬀrey Epstein.

            Or perhaps it was the simple incongruity of the U.S. government running a high-
            rise dungeon in Manhattan’s nancial district, which featured conditions more
            commonly associated with the jails of foreign dictatorships. e descriptions of the
            dirty, decrepit, vermin-infested, hyper-isolating jail sitting in an elite zip code never
            seemed to stick.

https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     3/8
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 59 of 72 Page ID #:2598

            e public attention to Epstein’s suicide could change that—but only if the public
            resists the seductive scandal of it all and insists on seeing the structural problems
            that Epstein’s time at MCC exposes.

            First the basics: MCC is a pretrial federal facility run by the Bureau of Prisons,
            which is part of the Department of Justice and overseen by Congress, that holds
            people awaiting trial on charges in the Southern District of New York. is means
            that the people it holds are presumed innocent, and the law ostensibly prohibits
            their punishment before conviction. Opened in 1975, MCC today houses about
            750 people in a facility built for fewer than 500. e conditions of their
            con nement vary widely, depending on where they are held, from the general
            population to the Special Housing Unit on the ninth oor to the fearsome 10
            South wing. e SHU is for people the jail deems not safe in general population or
            who have allegedly broken jail rules; it features much more restrictive conditions,
            including solitary con nement. Epstein began in the general population, but was
            reportedly in the SHU on 9 South when he died.

            [ Read: How gangs took over prisons ]

            Lawyers and people held there awaiting trial regularly report appalling conditions.
            e temperature is not adequately regulated; the facility is often sweltering in the
            summer and so cold in the winter that prisoners report having trouble thinking and
            wearing layers of clothes to be able to sleep. A single psychiatrist serves both MCC
            and the Metropolitan Detention Center, another federal facility located in
            Brooklyn. People report being “treated” through the slat in their cell door. e
            facility is run-down, and the plumbing and elevators break often.

            e most inhumane section of MCC is 10 South. e majority of the people held
            there over the past two decades have been Muslims facing terrorism charges;
            Guzman was held there as well. No outdoor recreation is allowed for 10 South
            prisoners, and windows are frosted so they are cut oﬀ from natural air and light.
            Besides the lth and vermin (even cell-cleaning supplies are often denied), one chief
            complaint is the lack of ventilation. On 10 South, prisoners are alone in their cells
            almost all of the time; they even shower there. eir sole escape is the hour when
            they are moved to a solitary cage for exercise. Sometimes, that recreation is denied,
            leaving prisoners to go days without leaving their cells. Cells are electronically


https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     4/8
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 60 of 72 Page ID #:2599

            surveilled, so that every action—including using the toilet, showering, and talking
            —is monitored.

            e defense attorney Robert Boyle has described the conditions at MCC as
            producing “a continuing deterioration in his [client’s] health,” and has noted
            reports from other lawyers with clients in similar conditions as “unable to make
            rational decisions in relation to the trial they face.”

            Nearly all of the people held on 10 South are under special administrative measures
            (SAMs) imposed by the attorney general, which restrict their communication with
            the outside world. On 10 South, you can be punished for yelling through the walls,
            for saying “As-Salaam Alaikum” to another prisoner, for making the call to prayer.
            While some talk between prisoners through walls or doors is not punished, there is
            always the threat of punishment, and sometimes guards exercise their prerogative to
            do so. Prisoners report going months without any talking—all before they have
            been convicted of any crime.

            e SAMs also mean that anyone in contact with the prisoner, a list typically
            restricted to a lawyer and the prisoner’s immediate family, is forbidden from
            communicating anything heard from the detainee. Put another way, lawyers or
            family members can be punished for disclosing any speci cs of the conditions they
            hear the prisoner is facing.

            [ Read: e prison-industrial complex ]

            e British civil-rights lawyer Gareth Peirce, who has spent decades defending Irish
            and Muslim prisoners accused of terrorism, visited MCC after clients she was
            representing were extradited from the U.K. to the U.S. No stranger to prison
            abuses, Peirce was astonished by the conditions at MCC. “Diabolical” was how she
            described it.

            According to studies, rates of suicide in jail are higher than in prison. And Epstein
            had reportedly already made one attempt to take his own life. While MCC is a
            special breed of hell, its approach to mental health is indicative of the BOP’s broad,
            cruel indiﬀerence to mental-health care. Faced with a spate of suicides in 2012, for
            instance, the BOP director sent every prisoner in federal custody an absurd letter.
            “At times you may feel hopeless about your future, and your thought may turn to
            suicide,” Director Charles E. Samuels wrote. “If you are unable to think of

https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     5/8
5/26/2020                                   The RealFiled
            Case 8:19-cr-00061-JVS Document 164     Scandal 05/27/20
                                                            of the MCC - ThePage
                                                                            Atlantic 61 of 72 Page ID #:2600

            solutions other than suicide, it is not because solutions do not exist; it is because
            you are currently unable to see them. Do not lose hope.”

            International organizations have condemned MCC’s conditions. From 2007 to
            2012, the European Court for Human Rights stayed the extradition of six U.K.
            subjects, concerned about inhumane prison conditions at U.S. federal facilities like
            MCC and the nation’s supermax prison in Colorado, before nally capitulating to
            U.S. pressure in 2012. Amnesty International in 2014 decried the conditions at
            MCC, as has the former UN Special Rapporteur on Torture Juan Méndez; so, too,
            did an extensive 2014 report by Human Rights Watch and Columbia Law School’s
            Human Rights Institute.

            e question now is whether MCC will merely serve as the dirty backdrop to
            bizarre conspiracy theories and sordid accountings of Epstein’s last hours, allowing
            the inhumanity to remain hidden in plain sight—or whether Epstein’s death is
            going to nally force us to see what is going on in Lower Manhattan and insist that
            conditions at MCC nally be addressed.


            We want to hear what you think about this article. Submit a letter to the editor or write
            to letters@theatlantic.com.




https://www.theatlantic.com/ideas/archive/2019/08/real-scandal-mcc/596257/                                     6/8
Case 8:19-cr-00061-JVS Document 164 Filed 05/27/20 Page 62 of 72 Page ID #:2601




                             EXHIBIT D
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme63
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2602




         THE GUANTÁNAMO IN NEW
         YORK YOU’RE NOT ALLOWED
         TO KNOW ABOUT
         Arun Kundnani
         February 5 2016, 5:55 a.m.




         Photo: Chris Hondros/Getty Images




         BEFORE EVERY PHONE CALL that Fatuma Hashi has with her brother
         Mahdi, FBI agents come on the line to tell her what she is not permitted
         to talk about. “You’re not allowed to speak about political issues. Or
         whatever’s happening in the outside world. Or his case,” she told The In-
         tercept.
https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   1/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme64
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2603
         Mahdi Hashi, a young man of Somali origin who grew up in London,
         had never been to the United States before he was imprisoned in the 10-
         South wing of the Metropolitan Correctional Center in lower Manhattan
         in November 2012, when he was 23. For over three years, he has been
         confined to a small cell 23 hours a day without natural light, with an
         hour alone in a slightly larger indoor cage. He has had no physical con-
         tact with anyone. Apart from occasional visits by his lawyer, his human
         interaction has been limited to brief, transactional exchanges with
         guards and a monthly 30-minute phone call with his family.

         Yet most of Hashi’s time in solitary confinement occurred before he had
         been deemed guilty by the justice system. Prolonged isolation prior to
         or in the absence of trial, sensory deprivation, and a lack of indepen-
         dent monitoring are normally associated with the detention center at
         Guantánamo Bay and CIA black sites overseas. But the MCC’s 10-South
         wing, which houses terrorism suspects, is no different in these respects.
         A former MCC prisoner and a psychologist specializing in trauma
         told The Intercept that the kind of extreme isolation imposed on defen-
         dants there can pressure them to accept a guilty plea, irrespective of ac-
         tual guilt.

         For Hashi, who worked at a community youth organization in London,
         everything changed when he was approached by MI5, the U.K.’s domes-
         tic intelligence agency. He was pressured to become an informant, ac-
         cording to accounts he gave to rights groups and local authorities, but
         refused, despite being warned that doing so would make his life
         difficult.

         In 2012, while Hashi was visiting Somalia,
         the British government used special powers
         to strip him of his citizenship, leaving him
         stateless. He crossed into neighboring Dji-
         bouti to visit the British consulate there, he

https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   2/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme65
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2604
         claims, and appeal the decision. U.S. prosecu-
         tors allege he was traveling to Yemen to join
         al Qaeda.

         Upon entering Djibouti, Hashi was arrested
         by agents of the secret police and forced to
         watch other prisoners gagged, blindfolded,
         and beaten for hours, he alleges in case fil-
         ings, with the complicity of FBI agents and
         other unidentified Americans. According to
         defense attorneys, Hashi was threatened
                                                                                                             Madhi Hashi Photo: Facebook
         with physical abuse and rape if he did not
         cooperate.

         In November 2012, he was transported to New York by the U.S. govern-
         ment to face charges of supporting al Shabaab, the Somali terrorist or-
         ganization. Prosecutors say he traveled to Somalia to attend a training
         camp and fight with al Shabaab in Somalia’s civil war. They accept that
         Hashi poses no specific threat to any Americans and that he received
         “harsh treatment” in Djibouti.

         In May 2015, after two-and-a-half years of isolation, Hashi entered a
         guilty plea of conspiring to provide material support to al Shabaab. Last
         week, on January 29, he was sentenced to nine years in prison. He will
         likely be incarcerated at a Supermax facility in Colorado or a high-secu-
         rity “communications management unit” in Illinois or Indiana, all of
         which mean ongoing solitary confinement.

         Government prosecutors were seeking 15 years, but Judge John Gleeson
         of the Eastern District of New York said the case was “complicated,” and
         accepted, in part, Hashi’s position that he joined al Shabaab not to en-
         gage in violent attacks but because he thought the group could restore
         peace to war-torn Somalia. “I believe you believe this organization you

https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/        3/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme66
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2605
         joined was dramatically different than what you thought or hoped it
         would be,” Judge Gleeson said.

         For Fatuma Hashi, the U.S. government’s approach is hard to under-
         stand. “He was in his own country,” she said. “It had nothing to do with
         the United States. Why does this country that has nothing to do with us
         have a say in his life?”

         Fatuma cannot fully share with journalists what she knows about her
         brother’s treatment in the MCC, a gray slab of a building that goes large-
         ly unnoticed by the office workers and tourists walking the streets near
         the Manhattan end of the Brooklyn bridge. Government restrictions —
         known as “special administrative measures,” or SAMs — prevent prison-
         ers, their attorneys, and family members from describing the conditions
         inside the high-security unit to the wider public, shrouding New York’s
         little Guantánamo in secrecy.



         Psychological damage
         In an account to be published in a new book on solitary confinement —
         titled Hell Is a Very Small Place — a Pakistani prisoner, Uzair Paracha, gives
         one of the most detailed illustrations yet of incarceration at the MCC.
         He was held in isolation there for two-and-a-half years after he was ar-
         rested in 2003 at age 23.

         “The windows were huge but the glass was frosted so we had a lot of
         light but couldn’t see a thing,” he said. “It was a shade of white during
         the day, blue in the evening and early morning, black at night, and yel-
         low when it snowed, as the snow reflected the streetlights. This was one
         way to estimate the time since they didn’t allow any watches.”

         Video cameras constantly monitored the inside of Paracha’s cell, includ-
         ing the shower and toilet areas. Lighting was completely controlled
https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   4/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme67
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2606
         from the outside, so that guards could deliberately leave the lights on at
         night to make sleeping harder. With their metallic walls, the cells were
         like ovens in the summer and freezing in the winter.

         The medical effects of Paracha’s imprisonment at the MCC were severe:
         a weakening of his eyesight, brought about by having his entire world
         just a few feet away; a deterioration of physical coordination that made
         walking on stairs harder; and breathing problems, especially while try-
         ing to sleep.

         Dr. Kate Porterfield is a clinical psychologist at the Bellevue/New York
         University Program for Survivors of Torture. She has evaluated prisoners
         held at various sites in America’s war on terror, including at Guantá-
         namo. “With isolation, there’s a severing of the orienting data of our
         lives — the stuff that makes us feel like we are on our feet,” she told The
         Intercept. “This can result in paranoia, disorientation, feeling confused
         about whether your perceptions match reality, and not being sure who
         to trust.”

         “That’s very dangerous to someone’s psyche,” she added. “It’s not just
         about feeling depressed because you’re in prison. The defendant ought
         to be oriented enough in the realities of their life and world that they
         can contribute to their own defense. A sense of paranoia and suspicion
         hampers the defendant in trying to connect with his or her legal team
         so that they can discuss and investigate the case.”

         If a person has experienced torture or coercive interrogation before be-
         ing put in isolation, they are even more vulnerable, Dr. Porterfield said.
         “There is then a greater likelihood of psychological damage and even
         less chance for recovery in any real sense.”

         Indeed, virtually every academic study has concluded that solitary con-
         finement has serious mental health consequences. These begin after 60


https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   5/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme68
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2607
         days and resemble the acute reactions suffered by torture and trauma
         victims.

         The average length of time that defendants in federal terrorism prosecu-
         tions spend in solitary confinement prior to trial is 22 months, accord-
         ing to a 2014 report by Human Rights Watch and the Columbia Law
         School Human Rights Institute. Amnesty International has stated that
         pre-trial solitary confinement at the MCC amounts to “cruel, inhuman,
         or degrading treatment.”

         At least one prisoner who has been held at both the MCC and Guantá-
         namo has described the Manhattan jail as harsher. Ahmed Khalfan
         Ghailani, who was convicted of involvement in the 1998 bombings of
         two U.S. embassies in East Africa, told his psychiatrist that Guantánamo
         is “more pleasant” and “more relaxed” than the isolation section at the
         MCC. At Guantánamo, he said, prisoners were not strip-searched and
         could associate together for recreational activities.

         Joshua Dratel, an attorney who has represented clients at Guantánamo
         as well as the MCC, has also said the New York jail is worse.



         A tool for prosecutors
         The one advantage that prisoners at the MCC are supposed to have over
         their counterparts in Guantánamo is that they are subject to trial in a
         criminal court rather than a military tribunal. However, the use of pre-
         trial solitary confinement has become, in effect if not intent, a tool for
         prosecutors to skew the judicial process in their favor.

         Experts like Dr. Porterfield emphasize how extreme isolation can induce
         a desire to accept a plea. “We find again and again that isolation in pris-
         ons and the experience of maltreatment have a huge impact to the
         point where people do almost anything to get out of the coercive situa-
https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   6/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme69
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2608
         tion,” she said. “If there’s one thing the last 14 years have shown us, it’s
         that abuse does not lead to good information gathering.”

         Laura Whitehorn was held for two months in pre-trial isolation at the
         MCC in 1986 on allegations of passport fraud, part of a larger conspiracy
         case for which she was later sentenced to 23 years in prison. “The sense
         of isolation, even after only two months, was so intense,” she told The
         Intercept. “I think, at that point, one would be ready to do almost any-
         thing to be back in human contact.”

         “What was particularly horrible was the constant watching and moni-
         toring,” Whitehorn recalled. “It was like being played with by the
         guards, a form of psychological taunting. I felt at any moment I could
         have any part of my being or body violated with impunity.”

         Peter Quijano has represented several clients facing federal terrorism
         charges at the MCC, most of whom have been held in the jail’s isolation
         unit.

         “It just seems obvious that if anyone, regardless of the mental state they
         have going in, is housed and detained in such a manner for any period
         of time, it has to start having an effect on them,” he said. “Anecdotally,
         we’ve seen increased deterioration over a period of time, especially in a
         pre-trial situation. It seems like a punishment and it affects their ability
         to assist in their defense.”

         Legal visits at the MCC are hampered by the extreme temperatures in
         the “claustrophobic” visiting room. “It’s hard to stay there for much
         more than two hours,” Quijano said. Attorney and client remain in sepa-
         rate cages during the visits, divided by a mesh grate that makes eye con-
         tact impossible.



         Severe restrictions on communication
https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   7/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme70
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2609
         Mahdi Hashi divides his monthly phone call between his parents and
         siblings in London and his wife in Somalia. His sister Fatuma described
         being “overwhelmed with emotions” on these calls after not hearing his
         voice for so long. “Every day I’m in pain thinking about his situation,”
         she said. Fatuma, who is 24, has not seen Mahdi for six years.

         She says the family has sent him books that took eight months to arrive.
         He never receives the letters and photographs they send. But there are
         strict limits on what Fatuma can say publicly about his imprisonment
         due to the SAMs applied in his case, which prevent Mahdi Hashi from
         any “oral, written, or recorded communications” with another prisoner;
         restrict his monthly phone calls to immediate family members; and pre-
         vent his family from sharing the content of the calls with anyone else.

         Nor is Hashi allowed to communicate with journalists in any way, in-
         cluding via his attorney. SAMs, which are issued by the attorney general,
         are supposed to be specific to individual prisoners who pose “a substan-
         tial risk” of communicating messages that “could result in death or seri-
         ous bodily injury to persons.”

         One consequence of the SAMs is that protests by prisoners remain hid-
         den from public view. In September 2013, a blogger claimed that Hashi
         was on hunger strike to protest the conditions of his imprisonment. He
         was reportedly hospitalized with jaundice and close to liver failure. But
         the protest could not be verified or discussed in more detail.

         “It’s a last resort when you have so few resources to defend yourself,”
         said Whitehorn, the former MCC prisoner, on reports of Hashi’s hunger
         strike.

         It has not been established whether Hashi was forced to
         undergo the brutal force-feeding practices used at Guantánamo, al-
         though force-feeding was applied in response to the protest of another
         MCC prisoner. Oussama Kassir, a Swede who went on hunger strike at
https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   8/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme71
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2610
         the MCC eight years ago, was subjected to “medical feeding,” according
         to his attorney.

         The people best placed to shed light on Hashi’s hunger strike — his
         lawyers and his family — were restricted by the SAMs, and prosecutors
         and prison administrators declined to comment. According to the blog-
         ger, the FBI cut off a phone call from Hashi to his father — in which
         Hashi described the protest — after one minute, but the SAMs mean we
         cannot know if this actually happened.

         Saghir Hussain, Hashi’s British lawyer, has spoken with his client about
         the conditions of his incarceration, but is prevented from sharing such
         information. Hashi’s American lawyer did not respond to multiple re-
         quests for comment.

         Mahdi Hashi’s prosecution provides one model of how the U.S. govern-
         ment deals with Western citizens accused of fighting with jihadi organi-
         zations overseas: coercive interrogation outside of U.S. jurisdiction,
         transportation to the isolation unit of a federal jail in New York, solitary
         confinement and restricted communication in conditions of secrecy un-
         til a guilty plea is made, then a lengthy incarceration at a high-security
         prison.

         From one perspective, this approach seems to respect the rule of law.
         But look a little closer and it becomes clear that there are possibilities
         for abuse equivalent to or worse than at Guantánamo.

         Top photo: Razor wire hangs on a railing at the Metropolitan Correctional Center,
         June 9, 2009, in New York City.




https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   9/11
5/26/2020                              New York's
            Case 8:19-cr-00061-JVS Document   164 HiddenFiled
                                                         Gitmo: 05/27/20
                                                                Pre-Trial Isolation, Extreme72
                                                                                  Page       Secrecy
                                                                                                of 72 Page ID #:2611

    WAI T! BEFORE YOU GO on about your day, ask yourself: How likely is it that
    the story you just read would have been produced by a different news outlet if
    The Intercept hadn’t done it?

    As the pandemic worsens, it’s not just the virus itself that threatens human
    life. The corruption, cronyism, and incompetence of those in power is adding
    fuel to the fire. The public deserves to know more than just case counts and
    death tolls, which is why our reporters are digging deep to break stories on
    corporate profiteering and political jockeying that undermine public health.

    The kind of reporting we do is essential to democracy, but it is not easy, cheap,
    or profitable. The Intercept is an independent nonprofit news outlet. We don’t
    have ads, so we depend on our members — 55,000 and counting — to help us
    hold the powerful to account. Joining is simple and doesn’t need to cost a lot:
    You can become a sustaining member for as little as $3 or $5 a month. That’s
    all it takes to support the journalism you rely on.

    Become a Member ⟶




         LATEST STORIES

                                                                                        Despite the Hype, Gilead’s
                                                                                        Remdesivir Will Do Nothing to End
                                                                                        the Coronavirus Pandemic
                                                                                        Sharon Lerner — 10:05 a.m.

                                                                                        A combination of generic drugs appears to
                                                                                        be more effective in fighting the
                                                                                        coronavirus than Gilead Sciences’
                                                                                        remdesivir.




                                                                                        Corporate Immunity, Mitch
                                                                                        McConnell’s Priority for Coronavirus

https://theintercept.com/2016/02/05/mahdi-hashi-metropolitan-correctional-center-manhattan-guantanamo-pretrial-solitary-conﬁnement/   10/11
